Case 6:22-cv-01460-AN   Document 115-3   Filed 10/01/24   Page 1 of 72




   EXHIBIT 3
        Case 6:22-cv-01460-AN      Document 115-3             Filed 10/01/24          Page 2 of 72




Eric J. Neiman, OSB #823513
Eric.Neiman@lewisbrisbois.com
Emma P. Pelkey, OSB #144029
Emma.Pelkey@lewisbrisbois.com
LEWIS BRISBOIS BISGAARD & SMITH LLP
888 SW Fifth Avenue, Suite 900
Portland, Oregon 97204-2025
Telephone: 971.712.2800
Facsimile: 971.712.2801

Thomas R. Johnson, OSB #010645
TRJohnson@perkinscoie.com
Alex Van Rysselberghe, OSB #174836
AVanRysselberghe@perkinscoie.com
PERKINS COIE, LLP
1120 NW Couch 10th Floor
Portland, Oregon 97209
Telephone: 503.727.2000
Facsimile: 503.727.2222

Attorneys for Plaintiffs




Eric J. Neiman, OSB #823513
ENeiman@ebglaw.com
Emma P. Pelkey, OSB #144029
EPelkey@ebglaw.com
EPSTEIN BECKER GREEN
1050 SW Sixth Ave., Suite 1530
Portland, Oregon 97204-2025
Telephone: 503-343-6475
Facsimile: 503-343-6476

Thomas R. Johnson, OSB #010645
Tom.Johnson@stoel.com
Alex Van Rysselberghe, OSB #174836
Alex.Vanrysselberghe@stoel.com
STOEL RIVES LLP
730 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: 503.294.9466

Attorneys for Plaintiffs

4868-8709-5093.2
  AMENDED COMPLAINT FOR       LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                 888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 1   Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                              Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN        Document 115-3             Filed 10/01/24          Page 3 of 72



                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION


LEGACY EMANUEL HOSPITAL &                               Case No. 6:22-cv-01460-MOAN
HEALTH CENTER d/b/a UNITY CENTER
FOR BEHAVIORAL HEALTH; LEGACY                           SECOND AMENDED COMPLAINT
HEALTH SYSTEM; PEACEHEALTH;                             FOR DECLARATORY AND
PROVIDENCE HEALTH & SERVICES –                          INJUNCTIVE RELIEF
OREGON; and ST. CHARLES HEALTH
SYSTEM, INC.,

                Plaintiffs,

       vs.
PATRICK ALLEN
SEJAL HATHI, MD, in hisher official
capacity as Director of Oregon Health
Authority,

                Defendant.




 4868-8709-5093.2
   AMENDED COMPLAINT FOR         LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
   DECLARATORY                   888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
   AND INJUNCTIVE RELIEF - 2     Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
 158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 4 of 72




                                         INTRODUCTION

         Under Oregon law, individuals who are dangerous to themselves, dangerous to or others,

or unable to take care of their own basic needs, due to a mental disorder, may be civilly

committed to the Oregon Health Authority (OHA) for involuntary detention and treatment.

Involuntary detention due to mental illness is “a massive curtailment of liberty.” Humphrey v.

Cady, 405 U.S. 504, 509 (1972). The State and Federal Constitutions require that mentally ill

persons who are involuntarily detained receive treatment calculated to lead to the end of their

involuntary detention. Or. Advocacy Ctr. v. Mink, 322 F.3d 1101, 1121 (9th Cir. 2003). It is not

acceptable under the law—let alone basic standards of human dignity and decency—to merely

“warehouse” mentally ill individuals away from the community and not provide them

appropriate treatment during their involuntary detention. Sharp v. Weston, 233 F.3d 1166, 1172

(9th Cir. 2000) (recognizing that “all too often the promise of treatment has served only to bring

an illusion of benevolence to what is essentially a warehousing operation of social misfits”)

(quoting U.S. ex rel. Stachulak v. Coughlin, 520 F.2d 931, 936 (7th Cir. 1975)).

         Civil commitment isOHA is responsible for the care and treatment of civilly committed

patients because patients are committed “to the Oregon Health Authority for treatment.”

ORS 426.130(1)(a)(C). However, the Oregon Health Authority (OHA)For years, however, OHA

has failed into fulfill its responsibilities to this vulnerable population. Rather than ensure and

provide timely access to meaningful the appropriate level of treatment, OHA ishas adopted a

practice of abandoning civilly committed patients and leaving them for extended periods of time

in acute care community hospitals. These acute care community hospitals are not designed,

equipped, staffed, or intended to provide long-term treatment for mental illness. Acute care

community hospitals are meant to provide stabilizing treatment to manage the acute symptoms of

patients experiencing severe mental health crises—treatment which involves emergency care,
highly restrictive settings, and constant monitoring. But However, civilly committed patients

4868-8709-5093.2
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 3      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24          Page 5 of 72




who have already been stabilized (that is, most civilly committed patients) do not need that kind

of care; instead, they need long-term treatment. Long-term treatment aims to do more than

simply manage the patient’s symptoms—it aims to address the patient’s mental illness itself with

the goal of enabling the patient to recover from their illness and return to the community. Long-

term treatment requires a calmer, less stressful, less-restrictive environment where patients have

more independence, peer support, socialization, and opportunities to develop life and health

skills. Thus, when OHA leaves civilly committed patients indefinitely in acute care hospitals,

they do not meaningfully recover because they are denied access to long-term treatment. This

failure to provide the appropriate level of treatment violates patients’ constitutional rightsdo not

need this kindtype of care and have no medical need to be in such restrictive environments.

These pPatients instead need long-term treatment, in less restrictive settings, that acute care

community hospitals cannot provide.

         OHA’s practice also violates the constitutional rights of acute careThere is no legitimate

state interest behind OHA’s failure to provide appropriate treatment. OHA is abandoning civilly

committed patients in community hospitals not because OHA is looking out for patients’ best

interests; rather, it is because OHA lacks sufficient facilities to provide the long-term treatment

that OHA is charged by law to provide, and OHA deliberately makes a choice not to not devote

sufficient funding and resources necessary to providing such treatment. In essence, OHA has
outsourced its responsibilities to civilly committed patients to community hospitals so that OHA

does not have to devote more funding and resources to such patients.

         OHA’s conduct, policy, and practices harms civilly committed patients. Rather than

progress to the next level of treatment, patients remain confined unnecessarily in acute care units

where they are denied access to the long-term treatment that justifies their commitment in the

first place, and that the treatment they are constitutionally entitled to receive as a condition of

taking away their liberty. This practice violates OHA’s statutory duties and ignores the

fundamental rights of civilly committed Oregonians: access to mental health treatment that gives

4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 4       Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 6 of 72




them “a realistic opportunity to be cured or to improve [the] mental condition” for which they

were confined. Ohlinger v. Watson, 652 F.2d 775, 779 (9th Cir. 1980).

         OHA’s conduct, policy, and practices also violate the constitutional rights ofharms

community hospitals by taking hospitals’ property with neither due process of law nor just

compensation. Instead of meeting its statutory obligation to provide mental health services and

treatment to civilly committed individuals, the state has inappropriately transferred all of its

responsibilities to care for those individuals to acute care hospitals. OHA’s failure to make even

minimal efforts to locate appropriate long-term treatment facilities for civilly committed

individuals forces acute care hospitals to shoulder the obligation. Because hospitals

cannotBecause hospitals cannot, and will not, discharge civilly committed individuals, who

desperately need long-term treatment, OHA’s failure to act means that acute carecommunity

hospitals must hold some civilly committed individuals for long periods of time. In many cases,

acute care hospitals have held civilly committed individuals for weeks, months, or even the

patient’s entire 180-day commitment period (and sometimes additional recommitment periods).

As a result, acute carecommunity hospitals must dedicate significant resources to patients who

have no medical reason to be in emergency or acute care settings. These resources include the

efforts of physicians, nurses, other care providers, and hospital staff as well as costs associated

with medication, housing patients who should be elsewhere, injuries to hospital staff, and
damage to hospital property. OHA does not adequately compensate and reimburse hospitals for

expending these resources and fails to assist in the protection of hospital staff and other patients,

or hold payers accountable to provide adequate reimbursement.

         In addition to harming civilly committed individuals and community hospitalsMoreover,

OHA’s conduct, policy, and actionspractices, also negatively impacthurtarms the community.

Oregon is in the middle of an unprecedented mental health crisis and community hospitals are

desperately needed to treat and stabilize other vulnerable patients experiencing mental health

crises, many of whom are also struggling with substance abuse disorder and houselessness in

4868-8709-5093.2
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 5      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 7 of 72




addition to mental illness. Because the beds of acute carecommunity hospitals are taken up by

civilly committed individuals, who should be transferred to long-term treatment facilities that

can provide them with meaningful treatment, other individuals in acute mental health crises are

unable to access care at acute carecommunity hospitals.

         Community hospitals bring this lawsuit to hold OHA has been keenly aware of this

problem for years but has done nothing to fix it. Instead, OHA has abdicated all responsibility for

civilly committed individuals,accountable and done nothing to increase capacity to ensure these

individuals civilly committed patients have access to the most appropriate long-term placements.

         OHA has defended its actions by offering expedited admission to the Oregon State

Hospital (OSH) for certain civilly committed individuals. But OSH has limited expedited

admission to only those civilly committed patients who are severely violent (which most are not)

and gone so far as to require the patient to injure others while in an acute care hospital to even be

considered for admission. While care providers are routinely assaulted (be it kicked, punched,

shoved, or bitten), rarely is that enough to gain expedited admission to OSH. Even when care

providers and others are injured, OHA routinely refuses expedited admission due to the patient

not being violent enough. This unlawful practice, which encourages workplace violence, should

not be permitted to continue. Acute care hospitals are not set up to handle that level of

aggression. Nor is it acceptable, safe, or sustainable to require other patients and care providers
to be exposed to a heightened risk of violence in community hospitals, which are supposed to be

therapeutic healing environments.

         OHA also points to the fact that a federal court order requires it to accommodate criminal

defendants at OSH who are found guilty except for insanity or unable to aid and assist in their

own defense. Yet OHA has been under these orders for years, and has done little to build

capacity in the community to ensure an adequate supply of secure beds are available for

individuals who are civilly committed. To be clear, Plaintiffs strongly support the rights of



4868-8709-5093.2
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 6      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 8 of 72




criminal defendants with severe mental illness to be moved out of jails and provided treatment.

But OHA is supposed to serve all three populations of patients. It is past time for change.

          Acute care community hospitals now bring this lawsuit to remedy OHA’s unlawful

practice of abandoning civilly committed individuals in acute care facilities and failing to even

attempt to provide them with appropriate treatment during their involuntary detention. This

practice violates OHA’s statutory duties and ignores the fundamental rights of civilly committed

Oregonians: access to mental health treatment that gives them “a realistic opportunity to be cured

or to improve [the] mental condition” for which they were confined. Ohlinger v. Watson, 652

F.2d 775, 779 (9th Cir. 1980).

          options. To that end, Plaintiffs do not seek compensatory damages—instead, Plaintiffs

seek only declaratory and injunctive relief, nominal damages, and recovery of their attorneys’

fees for having to pursue litigation to force OHA to accept its responsibility to provide mental

health servicesappropriate long-term treatment to civilly committed individuals. Plaintiffs seek a

declaration that OHA’s practicesconduct, policy, and practice of forcing acute carecommunity

hospitals to fulfill OHA’s statutory obligations violate the constitutional rights of both civilly

committed individuals and the community hospitals where they are unnecessarily confined.

Plaintiffs further seek ana permanent injunction abolishing these practicesenjoining OHA from

continuing its conduct, policy, and practice and requiring OHA to fulfill its statutory obligations
to ensure civilly committed individuals finally receive the care and treatment they are entitled to

by law.

                                 JURISDICTION AND VENUE

          1.     This action is brought pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 12132, and 28

U.S.C. § 2201.

          2.     This Court has subject matter jurisdiction pursuant to 28 USC § 1331 (federal

question jurisdiction) and 28 USC §1343 (civil rights jurisdiction), and supplemental jurisdiction

over claims based on state law pursuant to 28 USC § 1367.

4868-8709-5093.2
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 7      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24          Page 9 of 72




         3.      Declaratory and additional relief are authorized by 28 U.S.C. §§ 2201 and 2202.

         4.      Venue is proper pursuant to 28 U.S.C. § 1391(b).

                                                PARTIES

         5.      Plaintiffs are four of Oregon’s largest not-for-profit corporations licensed tohealth

systems that provide hospital and healthcare services. The throughout the state in accordance

with their missions to serve patients and the community. Plaintiffs’ community hospitals

operated by Plaintiffs all receive patients who are detained or civilly committed pursuant to

Oregon law, as alleged below.

         6.      The community hospitals operated by Plaintiffs are not designed, equipped,

staffed, or intended to provide long-term mental health treatment for civilly committed

individuals. TheOnly some of Plaintiffs’ hospitals have behavioral health units operated by

Plaintiffs. Those units are intended to serve the community as acute care facilities at which

patients experiencing acute mental health crises are evaluated, stabilized, and discharged to the

next appropriate level of care. By design, the average length of stay for most patients in those

units is 14 days or less. However, due to the conduct, policy, and practices and conduct of OHA,

civilly committed individuals commonly remain in the behavioral health units of community

hospitalsunits for much longer periods of time. These units are highly restrictive, locked

environments. Patients are able tocan leave the units only for short periods of time, if at all,
because of environmental, regulatory, and staffing limitations. This type of confined setting is

not designed to provide the appropriate therapeutic setting for long-term treatment. As a result,

patients left languishing in these environments by OHA do not receive needed care and, in some

cases, decompensate back to unstable conditions. OHA’s failure to provide appropriate treatment

settings for civilly committed patients, despite its legal responsibility to do so, directly results in

unnecessarily long lengths of stay in community hospitals.

         7.      Plaintiffs also operate emergency departments and medical-surgical units within

their community hospitals. As alleged below, patients experiencing mental health crises often are

4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 8       Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN        Document 115-3             Filed 10/01/24          Page 10 of 72




detainedleft in those units pursuant to Oregon civil commitment laws because of of the shortage

of acute psychiatric beds thedue to practices and conduct of OHA, which has led to a shortage of

acute psychiatric beds. These patients cannot access behavioral health units or other treatment

settings that they desperately need because there are no beds available for care.

         8.      Plaintiff Legacy Emanuel Hospital & Health Center, doing business as Unity

Center for Behavioral Health (Unity), operates an acute care behavioral health hospital in

Portland, Oregon. ItUnity’s mission includes is to, among other things, providinge high-quality,

compassionate, patient-centric behavioral healthcare to its patients and the community. Unity has

85 adult beds and 22 adolescent beds. Unity provides both emergency and inpatient services to

individuals experiencing mental health crises. Unity is an acute care hospital, meaning it

provides assessment and short-term stabilizing treatment for patients experiencing an acute

behavioral health crisis. Unity is not a long-term treatment facility, nor is it designed, equipped,

staffed, or intended to provide long-term care for individuals who are civilly committed.

         9.      Plaintiff Legacy Health (Legacy) operates six hospitals in Oregon. TheseLegacy’s

mission includes providing high-quality, compassionate, patient-centric healthcare to its patients

and the community. Legacy’s hospitals have emergency departments and medical-surgical units,

but do not have behavioral health units. They are not designed, equipped, staffed, or intended to

provide care for individuals who are detained or civilly committed.
         10.     Plaintiff PeaceHealth operates four hospitals in Oregon. PeaceHealth’s mission

includes providing high-quality, compassionate, patient-centric healthcare to its patients and the

community. One of thosePeaceHealth’s hospitals has a 35-bed acute care behavioral health unit.

It has an average length of stay of ten days. It is not designed, equipped, staffed, or intended to

provide long-term care for individuals who are civilly committed. The other PeaceHealth

hospitals have emergency departments and medical- surgical units, but do not have behavioral

health units. They are not designed, equipped, staffed, or intended to provide care for individuals

who are detained or civilly committed.

4868-8709-5093.2
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 9      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 11 of 72




         11.     Plaintiff Providence Health & Services – Oregon (Providence) operates eight

hospitals in Oregon. Providence’s mission includesvolves providing high-quality,

compassionate, patient-centric healthcare to its patients and the community. Four of

theseProvidence’s hospitals have acute care behavioral health units, which combined include 66

adult beds, 19 senior beds, and 22 adolescent beds. None of those acute care behavioral health

units are designed, equipped, staffed, or intended to provide long-term care for individuals who

are civilly committed. The other hospitals have emergency departments and medical-surgical

units, but do not have behavioral health units. They are not designed, equipped, staffed, or

intended to provide care for individuals who are detained or civilly committed.

         12.     Plaintiff St. Charles Health System, Inc. (St. Charles) operates four hospitals in

Bend, Redmond, Madras, and Prineville, Oregon. St. Charles’ mission involves cludes providing

high-quality, compassionate, patient-centric healthcare to its patients and the community. Only

the hospital in Bend has acute behavioral health beds. It has a five-bed secure psychiatric

services unit, and a 15-bed acute care behavioral health unit. The Bend hospital is not equipped,

staffed, or intended to provide long-term care for individuals who are civilly committed. The

other hospitals have emergency departments and medical-surgical units, but do not have

behavioral health units. They are not equipped, staffed, or intended to provide care for

individuals who are detained or civilly committed.
         13.     Defendant Patrick AllenSejal Hathi, MD is director of OHA, an agency of the

State of Oregon. HeShe is sued in hisher official capacity.

                                                 FACTS

A.       A.      Civilly committed patients are entitled to meaningfulappropriate long-term

         treatment during their involuntary detention.

         More than 50014.       Hundreds of individuals with severe mental illnesses are civilly

committed to OHA for treatment every year. These individuals exhibit acute symptoms such as

psychosis (dissociation with reality), paranoia, hallucinations, suicidal or homicidal ideation,

4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 10      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24          Page 12 of 72




depression, and sometimes violent behaviors that can cause them to be a danger toward

themselves and others. In short, these individuals are very ill andwith severe mental illness

require significant care and treatment.

         15.     Civil commitment is a drastic measure that the state takes only if no other option

for care is available. A judge may commit a person only if a mental illness makes the person a

danger to themself or others or unable to provide fortake care of their own basic personal needs

like health and safety. The Supreme Court has held that involuntary detention due to mental

illness is “a massive curtailment of liberty.” Humphrey, 405 U.S. at 509. Accordingly, due

process requires that civilly committed persons receive treatment calculated to lead to the end of

their involuntary detention. Id. Failing to provide this type of care to persons who are

involuntarily detained—and instead using involuntary commitment to merely “warehouse”

mentally ill personspatients away from the community—violates due process, not to mention

basic standards of human dignity and decency.

         16.     To that end, when the state pursues civil commitment, the state must provide

mental health treatment that gives civilly committed patients “a realistic opportunity to be cured

or to improve [the] mental condition” for which they were confined. Ohlinger v. Watson, 652

F.2d at 775, 779. (9th Cir. 1980). “Adequate and effective treatment is constitutionally required

because, absent treatment, [civilly committed persons] could be held indefinitely as a result of
their mental illness.” Id. at 778. Thus, civil commitment requires individualized treatment in the

least restrictive setting possible with the goal of restoring the person’s liberty, and commitment

can last only long enough for the purpose of giving patients treatment that gives them a “realistic

opportunity to be cured or to improve” so that they can return to the community and not be

recommitted.

         To get a “realistic opportunity to be cured or to improve,” a patient typically requires two

phases17.        The first phase of treatment. First, is to stabilize the patient must be stabilized.

The goal of stabilization is to manage and alleviate patients’ most acute symptoms so that those

4868-8709-5093.2
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 11       Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                   Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 13 of 72




symptoms do not inhibit long-term recovery. Stabilizing treatment typically involves medication

to manage acute symptoms like, such as psychosis, hallucinations, delusions, and/or aggressive

or violent physical behavior. The patient must be monitored so medications can be managed and

staff can promptly intervene if patients try to hurt themselves or others.needed. Due to these

limitations, the patient must be in a highly restrictive setting, and patients often cannot be

allowed to move about as they please. Because stabilization is intended to last for only 1-10

daysbe short-term, this highly restrictive environment is meant to be only temporary and is the

role acute care hospitals are intended to playserve in the processcontinuum of care.

         18.     After being stabilized, a civil commitment patient typically requiressubset of

civilly committed patients need long-term treatment. Long-term treatment aims to dodoes more

than simply manage the patient’s acute symptoms—it aims to address the patient’s mental illness

itself with the goal of enabling the patient to recover from their illness and return to the

community. Each patient in long-term treatment typically has an individualized treatment plan,

which helps them recover from their acute mental illness. Long-term treatment involves fewer

restrictions and offers more independence so that patients can practice and develop life and

health skills for being successful in the community, including the ability to take day passes and

overnight visits to facilitate transition back to the community. It involves a more stable peer

environment with less patient turnover, more socialization, more group counseling, and more
peer support. It involvesprovides training and education programs for patients to learn how to

care for their basic needs, maintain employment, and maintainsustain healthy relationships. It

requiresprovides a calmer, less stressful environment than exists in the emergency department or

an acute- care unit of a community hospital, thatwhich reduces the risk of the individual

decompensating back into an acute mental health crisis.

         19.     An emergency or acute care environmentsetting, where patients are stabilized, is

not appropriate for patients whoto remain long-term when they need long-term recovery.

Acutetreatment. Emergency and acute care environments are, by necessity, far more restrictive

4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 12      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24          Page 14 of 72




than long-term treatment environments. AcuteEmergency and acute care environmentsunits

typically house peer patients in crisis and require more monitoring and staffing than do long-term

treatment environments. These features can be counterproductive to patients who have already

been stabilized and who are working to recover from their mental illness so that they can regain

their freedom and return to their community. A patient in long-term recovery cannot receive the

socialization and skill-development opportunities in an emergency or acute care environment,

and the. The increased level of restriction is unnecessary for such patients and often can cause

decompensation.

         20.     For these reasons, it is difficult to overstate how crucial it is that a civilly

committed patient, once stabilized, be transitioned into an environment conducive to long-term

treatment. If a civilly committed patient is not transferred, the patient’s liberty is unnecessarily

curtailed, the patient does not meaningfully recover, the patient may decompensate, the patient

becomes more likely to be re-committed in the near future, and the very purpose of civil

commitment is undermined.

B.       B.     Oregon law requires OHA to ensure that civilly committed individuals
         receive appropriate long-term treatment.

         21.     The state is responsible for the civil commitment process. The state initiates civil

commitment proceedings; the state pursues civil commitment from the court; and, if commitment
is ordered, patients are committed “to the Oregon Health Authority for treatment.”



         ORS 426.130(1)(a)(C) (emphasis added). As such, it is the responsibility of the state to

provide civilly committed individuals with necessary treatment during their commitment in the

most appropriate and least restrictive setting possible to fulfill patients’ constitutional rights.

         22.     Where a person has been civilly committed, Oregon law charges OHA with the

responsibility for finding an appropriate placement for long-term treatment. Oregon law requires

that, “[u]pon receipt of the order of commitment, OHA or its designee shall take the person with

4868-8709-5093.2
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 13       Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                   Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN        Document 115-3             Filed 10/01/24          Page 15 of 72




mental illness into its custody, and ensure the safekeeping and proper care of the person until the

person is delivered to an assigned treatment facility or to a representative of the assigned

treatment facility.” ORS 426.150(1).(1). By statute, OHA must direct civilly committed persons

“to the facility best able to treat” them, or delegate to a community mental health program

director the responsibility for assignment of civilly committed persons to a “suitable” facility.

ORS 426.060(2)(a), (d) (emphasis added).

         23.     The director of OHA may assign or transfer the civilly committed person to any

facility “which, in the opinion of the director, will appropriately meet the mental health needs of

the committed person under civil commitment.” OAR 309-033-0290(1)(a).)(a). The director of

OHA may place the person in a community hospital—however, in doing so, the director of OHA

must “consult” with the community hospital’s admitting physician, and both must, together,

“determine whether the best interests of a committed person under civil commitment are served

by an admission to a community hospital.” OAR 309-033-0270(3)(a).

OAR 309-033-0270(3)(a).

C.       C.      OHA has shut the doors of the Oregon State Hospital to civilly committed
         patients and failed to create is failing to provide appropriate long-term placement
         options in the communitytreatment to civilly committed patients who need it during
         their involuntary commitment.

         1.      Oregon’s civil commitment system has broken down as OHA has, for years,
ignored its statutory obligations to this most vulnerable population. Rather than increasing

capacity and addressing the problems, OHA has completely abdicated its lawful duty to transfer

civilly committed patients out of highly-restrictive acute care hospitals and into appropriate long-

term treatment settings. For most of these individuals, a hospital is the doorway to the civil

commitment system. However, many patients experiencing a mental health crisis do not get past

that doorway. By law, every patient coming to a hospital emergency department must be given a

medical screening examination and provided stabilizing treatment for an emergency medical

condition, including a psychiatric crisis. Some are admitted to the hospital for acute stabilization

4868-8709-5093.2
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                    888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 14     Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                 Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24          Page 16 of 72




of their symptoms. Once a patient is committed, however, OHA is leaving them stuck in acute

care hospitals indefinitely, instead of transferring them to appropriate long-term placements.

Some civil commitment patients even remain in overly restrictive hospital settings for the entire

length of their commitment, which can be 180 days or longer if renewed by the court. Despite

the hospitals’ best efforts, they cannot provide the long-term treatment civilly committed

individuals need and are entitled to by law. The acute care community hospitals are not

equipped, staffed, or designed to house civilly committed individuals for months at a time, let

alone six months or more, when there is an urgent need for those beds by other acute psychiatric

patients in the community.1

         OHA has neglected its responsibilities to civilly committed patients because it has failed

to provide and build out adequate treatment capacity for civilly committed individuals, and

because OHA is unlawfully prioritizing care for other populations of mentally ill individuals. 24.

         Oregon’s civil commitment system has broken down as OHA has, for years, ignored its

statutory obligations to this most vulnerable population. Despite the state’s responsibility to

provide civilly committed individuals with constitutionally sufficient treatment, OHA is failing

to ensure that appropriate long-term treatment is available to patients who need it.

         2.      25.      Historically, civilly committed individuals went to the Oregon State

Hospital (OSH,), the mental health hospital operated and managed by OHA. ORS 179.321(1).(1)
. OSH is intended to be used by the state “for the care and treatment of persons with mental

illness.” ORS 426.010. It is the only state hospital in Oregon and is supposed to serve three

populations of mentally ill persons: (1) civilly committed individuals, (2) those found guilty

except for insanity (GEI) in a criminal case, and (3) aid-and-

1
  Meanwhile, civilly committed patients have no one to advocate on their behalf because
Oregon’s civil commitment scheme does not provide them with counsel after the point of
commitment. While individuals who are detained have a right to counsel during the court process
leading up to an order of commitment, that representation ends at the time the order is entered.
Having been civilly committed, individuals are no longer represented by counsel to protect their
rights. They are lost to the oversight of the courts that have committed them, as is OHA, which
disclaims responsibility for their care.
4868-8709-5093.2
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                      888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 15       Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                   Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 17 of 72




assist patients who are arrested but not able to participate in their defense because of a mental

illness.

           However, Within OSH are multiple secure long-term residential treatment units which

provide the long-term treatment that many civilly committed patients need: fewer restrictions,

more independence, a calmer and more stable environment, more stable peer communities, less

patient turnover, more socialization and peer support, more group counseling, and more training

and education programs for patients to learn to care for their basic needs, maintain employment,

and sustain healthy relationships. However, over the years (and as a result of other federal court

litigation,), OHA has increasingly prioritized the admission of aid-and-assist and guilty except

for insanity (GEI) patients at OSH over civil commitment patients. For example, in November of

2018, a 26-bed unit for civil commitment patients at OSH was turned into a unit for aid-and-

assist patients. In July of 2019, another 26-bed unit for civil commitment patients was converted

to use for aid-and-assist patients. civilly committed patients. The graph below (provided by

OSH) illustrates this trend:

///

///

///
///

///

///




4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 16      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 18 of 72




In December of 2019, OSH stopped taking civilly committed patients, with very few exceptions,

and shifted virtually altogether, shifting admission priorities to focus almost entirely on the aid-

and-assist and GEI populations. By May of 2024, there were less than 20 civilly committedment

patients at OSH out of almost 650 beds.

         26.     Over this period of admitting steadily fewer civilly committed patients to its state

hospital facilities, OHA has done virtually nothing to create additional capacity for civilly

committed patients to receive needed treatment in appropriate settings. For instance, OHA has

not increased capacity at OSH to continue accommodating civilly committed patients even as it

has admitted steadily more patients from the aid-and-assist and GEI populations. Nor has OHA

built other secure residential treatment facilities or other long-term treatment options outside of

OSH. Despite recognizing that it is a longstanding problem, OHA has failed to step up to fix it.

         3.      As a result, and as shown below, the admittance rate of civilly committed patients

to OSH has plummeted (and the number of civilly committed individuals stuck in acute care

hospitals has skyrocketed). Five years ago, about one-third of OSH patients, or more than 200,

were civilly committed. Between January and March of 2021, 94% of new patients at OSH were

aid-and-assist patients, and in June of 2021, the civil commitment population made up less than

5% of OSH patients. Yet, at the same time, OHA has failed to provide other options for


4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 17      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 19 of 72




appropriate long-term placements and done nothing to build capacity in the community to ensure

an adequate supply of secure beds are available for individuals who are civilly committed.

///

///

///

///

///

///




         27.     OHA has also failed to ensure that other entities authorized to care for civilly

committed patients—like counties, municipalities, and nonprofit organizations—can fill the gap

left by the state. OHA has failed to, for instance, provide sufficient funding, grants, or other

incentives for other entities to create and run long-term treatment facilities needed by many of

the patients who are civilly committed to OHA’s custody but not receiving long-term treatment.2
        4.     28.     Plaintiffs strongly support the rights of aid-and-assist and GEI patients to,



2
  For example, in the entire State of Oregon, there are currently only two Class One secure
residential treatment facilities. A Class One facility is approved “to be locked to prevent a person
from leaving the facility, to use seclusion and restraint, and to involuntarily administer
psychiatric medication.” OAR 309-033-0520(23). These are critical resources that some civilly
committed individuals may require before they are ready to step down to a lower level of care.
4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 18      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
        Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24          Page 20 of 72



who should be removed from jail and to receive meaningful treatment. But OHA is responsible

for civilly committed patients, too, and must do this serve aid-and-assist and GEI patients

without abandoning civilly committed patients. ByIndeed, Tthe law, prohibits OHA may not
prioritizefrom prioritizing aid-and-assist and GEI patients over civilly committed patients if it

means giving civilly committed patients inadequate care. The Ninth Circuit has held that, when

it comes to providing constitutionally adequate treatment to involuntarily detained patients,

“[l]lack of funds, staff or facilities cannot justify the State’s failure to provide [such persons]

with [the] treatment necessary for rehabilitation.” Ohlinger, 652 F.2d at 779. Indeed, OHA’s
recent practices have already been adjudged unlawful by this Court. On November 15, 2021, in

Bowman v. Matteucci, 3:21-cv-01637, Judge Marco A. Hernández granted injunctive relief to

GEI patients who claimed that they were unconstitutionally being denied admission to OSH

because OHA was prioritizing the admission of aid-and-assist patients. OHA argued that, due to

an injunction regarding admission requirements for aid-and-assist patients in Or. Advoc. Ctr. v.
Mink, 322 F.3d 1101, 1121–22 (9th Cir. 2003), OHA had to prioritize aid-and-assist patients

over other populations of patients. Judge Hernández expressly rejected the notion that OHA may

prioritize the constitutional rights of some patients over others:




4868-8709-5093.2
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS BISGAARD & SMITH LLP          PERKINS COIE LLP
  DECLARATORY                     888 SW Fifth Avenue, Suite 900               1120 N.W. Couch Street, Tenth Floor
  AND INJUNCTIVE RELIEF - 19      Portland, Oregon 97204-2025                  Portland, Oregon 97209-4128
                                  Telephone: 971.712.2800 • Fax 971.712.2801   Phone: +1.503.727.2000 • Fax: +1.503.727.2222
158177756.2
         Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24           Page 21 of 72




         If OSH cannot admit GEI patients while admitting aid-and-assist patients within
         the court-ordered timeframe, it’s because OSH lacks the space and the funding to
         do so—not because the Mink order compels it to prioritize one group over
         another. In other words, any prioritization stems from Defendant’s failure to
         provide the funds, staff, and facilities necessary to satisfy the constitutional rights
         of both groups. When satisfying constitutional guarantees, Defendants cannot
         rob Peter to pay Paul.
Bowman v. Matteucci, 3:21-cv-01637, 2021 WL 5316440, at *2 (D. Or. Nov. 15, 2021)

(emphasis added). Despite this unambiguous ruling, OHA continues to systematically prioritize

care for other patients over care for civilly committed patients, once again “robbing Peter to pay

Paul.”

D.       OHA’s failure to provide appropriate and legally required treatment to civilly committed
         individuals—and the negative impact on Oregon’s community hospitals—is well known
         to OHA. A 2017 study for OHA concluded: “Patients at the state hospital for aid and
         assist take up beds that could be used for civil commitment patients. This results in more
         civilly committed individuals waiting in acute care for a state hospital bed to open up.
         This decreases the access to acute care beds, which causes a backup in the ED. Multiple
         strategies have tried to reverse this trend with only minimal success. OHA is revitalizing
         planning and actions and will have a strategic action plan in place by February 2017.”3
         But, despite having known of its practices since 2017, OHA has continued to ignore its
         statutory obligations and has continuedeffectively outsourced its responsibilities to the
         civilly committed population to knowingly reducecommunity hospitals without
         hospitals’ consent.

         29.      Rather than addressing these problems by increasing long-term placement

treatment capacity and options for throughout Oregon, OHA has effectively outsourced its
responsibilities to civilly committed patients over that time.by leaving patients indefinitely in

community hospitals’ emergency rooms, acute behavioral care units, and medical-surgical units.

         5.       Today, OSH rarely admits civilly committed patients—despite the fact that OSH




3
  Oregon Health Authority, Emergency Department Boarding of Psychiatric Patients in Oregon,
Report Briefing, Feb. 1, 2017, available at
https://www.oahhs.org/assets/documents/files/publications/0%20OHA%20Psychiatric%20ED%
20Boarding%20Report%20Brief%20Final.pdf.https://www.oahhs.org/assets/documents/files/publ
ications/0%20OHA%20Psychiatric%20ED%20Boarding%20Report%20Brief%20Final.pdf.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 20            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 20       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN        Document 115-3             Filed 10/01/24           Page 22 of 72




is not at 100% capacity and has empty beds.4 This last year, OSH averaged less than 20 civil

commitment patients per month, including a grand total of 16 in June of 2022. In the last few

years, the only way a handful of civilly committed individuals have gotten into OSH is by

qualifying for expedited admission due to being severely violent. To qualify for expedited

admission, OHA requires that the person exhibit severe aggression directed towards other

persons and/or property in the previous two weeks, and which has (1) resulted in injury to others

or property destruction, (2) required frequent or prolonged restraint and/or seclusion, (3) has

persisted and remains at ongoing high risk of recurrence despite adequate treatment, and (4)

cannot be safely treated on an acute psychiatric unit.5 In other words, OHA requires the person to

be severely violent towards others and/or property and have already injured someone or

destroyed property while in the acute care hospital to even be considered for admission to OSH.

Even then, individuals who should qualify for expedited admission are routinely denied, and left

in acute care hospitals. In effect, OHA has made admission to OSH next to impossible for most

civilly committed individuals who are not violent at all, and have done nothing wrong other than

to suffer from a mental illness. And OHA has provided essentially no other options where these

individuals can receive appropriate long-term treatment they are entitled to by law.

        6.        Meanwhile, not one civilly committed person has been admitted to OSH in the

last several years based on the regular admission criteria. While individuals who meet regular
admission criteria are routinely placed on the wait list for OSH, they are never admitted.

Essentially, it has become a wait list to nowhere.

        The closure of OSH’s doors to the civilly committed population, without other capacity

having been built, means that these individuals are denied access to appropriate 30.


4
 This is according to sworn testimony from behavioral health director Steve Allen on July 20,
2022.
5
  Request for Oregon State Hospital Expedited Admission,
https://www.oregon.gov/oha/OSH/LEGAL/Documents/Expedited_Admission_for_Patients_Und
er_CIVIL_Commitments.pdf.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT       EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR         LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND            1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                   888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 21         Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 21    Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 23 of 72




        Plaintiffs are Oregon’s four largest health systems, each of which operates several

community hospitals across Oregon. Each of Plaintiffs’ hospitals have emergency departments or

emergency rooms where patients experiencing severe crises and psychiatric emergencies may

receive emergency psychiatric care. Some (but not all) of Plaintiffs’ hospitals have acute

behavioral care units, in which patients requiring further acute care after emergency treatment

can be treated and monitored overnight or for up to a fewcouple weeks while they stabilize.

        31.       Due to the high level of close monitoring and treatment involved in providing

acute care for these patients, emergency and acute behavioral care settings are highly restrictive.

Other patients occupying the units are generally not stable because they are still in the process of

being treated and stabilized. Further, the environments can be stressful, and the rate of patient

turnover is high. These environments are not conducive to patients who require the calm,

stability, and freedom that exists in long-term treatment environments. There is no realistic way

for Plaintiffs to realistically provide long-term treatment in a far less restrictive setting. such

environments.

        32.       In comparison to a restrictive acute care unit, OSH and, secure residential

treatment facilities are a much more humanesuitable place for an individual to be not onlycivilly

committed individuals who no longer require emergency or acute behavioral care because they

offer long-term treatment (which acute care hospitals do not), but also because individuals have
much) and allow more freedom and a better quality of lifeindependence for the patient. For

example, a patient at on an acute care unit necessarily must live in confined, closed-off, heavily

monitored physical spaces:




4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 22            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 22       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN       Document 115-3             Filed 10/01/24           Page 24 of 72




4868-8709-5093.2
 SECOND AMENDED COMPLAINT      EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR        LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND           1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                  888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 23        Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 23   Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                               Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                               Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN       Document 115-3             Filed 10/01/24           Page 25 of 72




4868-8709-5093.2
 SECOND AMENDED COMPLAINT      EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR        LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND           1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                  888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 24        Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 24   Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                               Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                               Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 26 of 72




A patient at OSH or a secure residential facility, meanwhile, may recover in a living space far

more conducive to meaningful long-term recovery:




OSH also has gym Long-term treatment facilities also tend to have enriching facilities and

opportunities that are vital to patients’ long-term recovery, like gyms, education and vocational

opportunities, extensive outdoor facilities, and even a café, marketcafés, markets, and coffee

shopshops. Individuals at OSH canin long-term residential treatment facilities can sometimes go

places on day passes, wear their own clothes, and go outside daily for fresh air. There are alsocan

be family and friend events and peer support specialists on staff at OSH. None. These types of

those amenities and opportunities are , which are often necessary to enhance the treatment of

civilly committed patients, are quite oftengenerally not available in the emergency departments

and acute care hospitals. And OHA has done nothing to build capacity to create appropriate long-

term placements in the units of community that offer such essential amenities and opportunities

so that civilly committed hospitals.

        33.       Typically, individuals can practice and develop life and health skills for being

successful in the community.who become civilly committed while in Plaintiffs’ care arrive


4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 25            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 25       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 27 of 72




through the doors of their emergency departments. Patients are often brought to Plaintiffs’

hospitals by law enforcement, or first responders, who deliver individuals to the emergency

departments when they are in acute distress. Patients also may be brought by family or friends, or

on their own accord. Hospitals are required by law, and as a condition of licensure, to have an

emergency department, or provide emergency services, 24 hours a day, seven days a week.

OAR 333-520-0070(2), (9). Hospitals must accept all patients who enter through their

emergency rooms, regardless of whether they might later be civilly committed or whether the

hospital is approved to treat detained or civilly committed patients. Under both the Emergency

Medical Treatment and Labor Act (“EMTALA”) and Oregon law, a hospital must screen each

patient to determine whether the patient has an emergency medical condition, including a

psychiatric crisis causing them to be dangerous to themselves or others or unable to take care of

their basic needs. 42 C.F.R. § 489.24(a)(1)(i); 42 U.S.C. § 1395dd(a); OAR 333-520-0070(7),

(9). If an emergency medical condition exists, the hospital must provide any necessary

stabilizing treatment or, if the hospital cannot provide it, arrange for an appropriate transfer to

another treatment setting. 42 C.F.R. § 489.24(a)(1)(ii); 42 U.S.C. § 1395dd(b)(1)(A-B); OAR

333-520-0070(3)(a), (f), (h), (i), (j); OAR 333-520-0070(9). As such, Plaintiffs must accept all

patients into their emergency departments and cannot control which patients enter their hospitals.

D.      OHA has systematically failed the civilly committed population and left them to
        languish indefinitely in acute care community hospitals.

        7.        OHA has systematically failed in its responsibility to ensure that civilly

committed individuals receive the care and treatment they need and are legally entitled to receive

as a condition of taking away their liberty. This failure has been the subject of rulings by Oregon

courts and repeated pleas to OHA for help.

        Due to OHA’s inaction, there is a severe shortage of appropriate placements that are able

to provide higher levels of care and long-term treatment needed to care for this vulnerable



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 26            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 26       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24           Page 28 of 72




population.6 Most secure residential treatment facilities are often full and have closed waitlists.

Even when facilities are not full, they generally prioritize referrals from OSH, while referrals

from acute care hospitals are given less priority. With no options for long-term placement, civilly

committed individuals remain stuck in acute care hospitals without access to meaningful

treatment. It leads to an unconscionable, but all too common situation,34. Where a patient in the

emergency room potentially meets the criteria for civil commitment—that is, they present a

danger to themselves or others or are unable to take care of their own basic needs, due to a

mental illness—a licensed independent practitioner may initiate civil commitment proceedings.

When this happens, Plaintiffs must involuntarily detain and hold the patient for several days

under a “Notice of Mental Illness,” at least until the state holds a civil commitment hearing and a

state court judge issues a commitment order (or until the patient no longer meets detention

criteria). Of the patients who are detained, some remain in emergency departments while others

may be admitted to the scarce number of inpatient psychiatric beds that exist in Plaintiffs’

hospitals, and still others may be admitted to inpatient medical unit beds. Regardless of where

patients are located in Plaintiffs’ hospitals, federal and state laws and regulations and medical

ethics prohibit Plaintiffs from discharging these patients while they are psychiatrically unstable,

lack a safe discharge plan, and are being detained under Oregon civil commitment law. Plaintiffs

also cannot discharge unstable patients in their emergency rooms under EMTALA; if they did,
they would be subject to enforcement action which might include loss of Medicare funding. As

detailed below, this would be true even if Plaintiffs withdrew their certification for providing

short-term acute care services to civilly committed patients—if Plaintiffs did this, there would




6
  For example, in the entire State of Oregon, there are currently only two Class One secure
residential treatment facilities. A Class One facility is approved “to be locked to prevent a person
from leaving the facility, to use seclusion and restraint, and to involuntarily administer
psychiatric medication.” OAR 309-033-0520(3). These are critical resources that some civilly
committed individuals may require before they are ready to step down to a lower level of care.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT        EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND             1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                    888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 27          Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 27     Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                 Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                 Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 29 of 72




simply be no beds to send most patients, and patients would remain in the emergency room or in

an inpatient unit.

        35.       Where a patient is ordered committed, Oregon law charges OHA with the

responsibility for “tak[ing] the person with mental illness into its custody” and “ensur[ing] the

safekeeping and proper care of the person until the person is delivered to an assigned treatment

facility.” ORS 426.150(1). OHA must direct the civilly committed person “to the facility best

able to treat the person” or ensure that the person is directed to a “suitable” facility.

ORS 426.060(2)(a), (d). Some civilly committed patients can be stabilized within two to three

weeks of commitment; for those individuals, remaining in acute care units may be appropriate

because those patients may still benefit from emergency psychiatric and acute behavioral care.

Other civilly committed patients, however, already have been stabilized as much as is medically

possible around the time they are civilly committed (or shortly thereafter) but are in need of

long-term, specialized care.

        36.       Under a functional statewide behavioral healthcare system, OHA is supposed to

send the latter subset of civilly committed patients (who are no longer benefiting medically from

emergency psychiatric care and acute behavioral care) to a suitable facility that provides long-

term care, such as a secure residential treatment facility. But OHA does not differentiate between

civilly committed patients who continue to need emergency psychiatric or acute behavioral care
and from those patients who do not. Rather than consider the individual needs of the patient and

exercise discretion to make affirmative decisions based on the patients’ health about whether

such patients should either remain in a community hospital or be transferred to a different facility

(and rather than ensuring that an appropriate delegee make such decision appropriately), OHA

fails to make any decision based on the patients’ health, and simply abandons patients in the

community hospitals where they already are so that OHA may avoid responsibility for—and the

devotion of resources to—such patients. In doing so, OHA does not consult with the treating

physicians of those community hospitals to determine the best location for individual patients’

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 28           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 28      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
        Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 30 of 72




care, as is required by OAR 309-033-0270(3)(a). OHA is willfully doing this despite knowing

that, for some individuals, the patient can no longer receive any medical benefit from the

emergency psychiatric care and acute behavioral care that Plaintiffs provide and cannot receive

the long-term treatment the patient needs, despite Plaintiffs’ best efforts to provide good medical

care to patients. Community hospitals are simply not equipped, staffed, or designed to house

civilly committed individuals for months at a time, let alone six months or more.

        37.       Due to state and federal laws and regulations, medical ethics, and civil

commitment orders, whenre OHA leaves civilly committed patients in Plaintiffs’ community

hospitals, Plaintiffs have no feasible options other than to continue housing the patients and

providing basic care (i.e., administer medications) and consumable resources (i.e., food,

toiletries, and other basic provisions) indefinitely. For a handful of civilly committed patients,

tThis indefinite period can lasts for several weeks, multiple months and, sometimes, more than a

year.

        38.       Plaintiffs cannot transfer the patients elsewhere because, almost always, there is

nowhere for the patient to go. In general, tTransferring any patient to any less-suitable

environment for that patient is inconsistent with Plaintiffs’ missions to ensure high-quality,

compassionate, and patient-centric care to all patients. Moreover, under state and federal law,

Plaintiffs may transfer a patient to another hospital for treatment only if the other hospital both
(1) is certified to care for civilly committed patients, and (2) has available beds. If there is no

certified hospital with available beds that agrees to accept the civilly committed patient, the

patient cannot be transferred and remains in Plaintiffs’ hospitals with no realistic prospect of

receiving the long-term treatment they require. Plaintiffs’ hospitals, however, provide most

available hospital beds in the entire State of Oregon. Out of approximately 460 licensed inpatient

psychiatric treatment beds available across Oregon, 264 (57.4%) are in Plaintiffs’ facilities.

Because of the severity of Oregon’s behavioral health crisis, all other Oregon beds that are

designed for long-term treatment are typically full and have long closed waitlists. Even when

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 29            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 29       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 31 of 72




such other facilities are not full, they often prioritize referrals from OSH, while referrals from

acute care hospitals are given less priority. There simply is not enough available capacity in

Oregon for Plaintiffs to transfer civilly committed patients to other facilities (whether for long-

term treatment or otherwise).

        39.       Despite that OHA’s mission statement is to “ensur[e] all people and communities

can achieve optimum physical, mental, and social well-being,” OHA has suggested that if

Plaintiffs can no longer medically help a civilly committed patient left in Plaintiffs’ care,

Plaintiffs should simply discharge the civilly committed patient to the sidewalk.

        40.       But discharging civilly committed patients—as OHA recommends—would result

in an unmitigated disaster for both patients and the community. As an initial matter, discharging

civilly committed patients in this way would be the very opposite of serving Plaintiffs’ missions

to provide high-quality, compassionate, and patient-centric healthcare to its patients. Moreover,

such discharges would violate both the law and court orders. A patient who is under civil

commitment is, by definition, someone who presents a danger to themself or others or who is

“unable to provide for basic personal needs that are necessary to avoid serious physical harm in

the near future.” ORS 426.005(1)(f). Thus, if Plaintiffs followed OHA’s recommendation and

discharged civilly committed patients into the community without any discharge plan and with

nowhere to go, there is a substantial chance that the patient would cause harm to themselves or
others in the community. There is also a substantial likelihood that the individual—who is still

suffering from a severe and insufficiently treated psychiatric condition or crisis—would be

picked up by first responders and brought right back to one of Plaintiffs’ emergency

departments. Plaintiffs, meanwhile, would violate, among other laws, 42 C.F.R. § 482.43; 42

C.F.R. § 482.13; ORS 441.053(2), 441.054, OAR 333-505-0055, and OAR 333-520-0070(4),

which require discharge of patients only in accordance with a discharge plan that considers and

accommodates the individual needs of patients (which, for the patients at issue here, require



4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 30           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 30      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 32 of 72




long-term treatment). Plaintiffs would also violate EMTALA to the extent the patients are

staying in beds in the emergency department.

        41.       Violations of these laws may result in fines and/or losses of Plaintiffs’ licensure.

Such violations would also harm Plaintiffs’ reputations as hospitals and health systems that

provide care for all patients of all walks of life and put patients’ needs first. OHA knows, or at

least certainly should know, that this is not a realistic option. In fact, it is the existence of these

laws that has enabled OHA to outsource its obligation to care for civilly committed individuals

to community hospitals.

        42.       As described above in paragraphs 33 and 34, Plaintiffs cannot avoid having

civilly committed patients left in their care indefinitely by declining to acquire certification to

treat civilly committed patients. Even if Plaintiffs were not certified to provide short-term

treatment to civilly committed patients, Plaintiffs would still be required by law to receive,

evaluate, and treat all patients who enter through the doors of their emergency rooms before civil

commitment occurs. Plaintiffs would still have to hold and provide emergency psychiatric

treatment to patients who are detained before commitment. Plaintiffs would still be prohibited by

state and federal laws and regulations and medical ethics, from discharging the patient while

civil commitment proceedings are ongoing. And, when patients are committed, Plaintiffs still

would be unable to lawfully discharge the patient or transfer the patient to another hospital
unless the other hospital (1) is certified, and (2) has available beds. If no other certified beds are

available elsewhere, the patient would nonetheless remain in Plaintiffs’ hospitals regardless of

certification, because Plaintiffs would be legally prohibited from discharging the patient and

there is nowhere else for the patient to go.

        43.       Indeed, if Plaintiffs withdrew their certifications, there would not be enough

certified beds in the rest of the state to receive Plaintiffs’ civilly committed patients. As noted,

there are only 460 acute psychiatric beds in Oregon, and 264 of them (over 57%) are in

Plaintiffs’ hospitals. If Plaintiffs removed their 264 beds from the statewide pool, far more

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 31            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 31       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 33 of 72




civilly committed patients would need to be transferred, yet far fewer licensed beds would be

available in the rest of the state to receive them (as noted, those beds are already full and have

long and often closed waitlists). Because Plaintiffs are four of Oregon’s largest health systems

and make up so much of Oregon’s total psychiatric resources, the withdrawal of Plaintiffs’ beds

from the available certified pool would create an unprecedented shortage of psychiatric resources

that would make it essentially certain that Plaintiffs would have no available places to send

civilly committed patients left in their care. Instead, the patients would remain at the hospital and

Plaintiffs would suffer the same or worse injuries as they do when certified.7

        44.       Plaintiffs’ certification to provide short-term treatment to civilly committed

patients does not amount to consent to be left with the responsibility to provide long-term

treatment to such patients. To the contrary, the certification process is highly specific in

distinguishing types of care. Hospitals are approved to provide only short-term treatment, and

nothing more. Because civilly committed patients generally need multiple different kinds of

treatment (i.e., emergency care, acute care, long-term treatment)—and each level of care requires

different kinds of training, equipment, facilities, and so on to safely, effectively, and ethically

provide—certification is treatment-specific so that patients who need a certain kind of care are

not treated by acute care hospitals that are unable to provide that care safely, effectively, and

ethically. See OAR 309-033-0530(1) (“Only hospitals . . . approved by the Division . . . shall
provide care and treatment services for persons under civil commitment or for persons in custody

. . . .”). For purposes of certification, there are five “program types”:

                  1)     Regional Acute Care Psychiatric Services for Adults

                  2)     Hospital Hold and Seclusion Room Services (5 day Hold)

                  3)     Hospital Transport Custody Services (12 Hour Transport Custody)


7
 As detailed below, OHA has repeatedly studied Oregon’s shortage of behavioral health beds
and is well aware of the catastrophe that wouldill occur if Plaintiffs suddenly withdrew their
participation from Oregon’s behavioral health system.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 32            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 32       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 34 of 72




                  4)     Class I Secure Residential Treatment Facility (Non-hospital

                         facility), approved to be locked to prevent a person from leaving

                         the facility, to use seclusion and restraint and to involuntarily

                         administer psychiatric medication

                  5)     Class II Secure Residential Treatment Facility (Non-hospital

                         facility), approved to be locked to patientprevent a patient erson

                         from leaving the facility

        45.       Plaintiffs Providence and Unity applied to be certified for “Hospital Hold and

Seclusion Room Services (5 day Hold).” Plaintiff PeaceHealth applied to be certified for

“Regional Acute Care Psychiatric Services for Adults.” Plaintiff St. Charles applied to be

certified for both. Both program types refer to short-term treatment. A hospital hold occurs

before a person is committed and cannot exceed five judicial days, and “Regional Acute Care

Psychiatric Services” means “stabilization, control, and/or amelioration of acute dysfunctional

symptoms or behaviors that result in the earliest possible return of the personindividual to a less

restrictive environment.” OAR 309-0323-0870710(24) (emphasis added). Plaintiffs did not apply

to provide long-term treatment, and OHA has neither evaluated Plaintiffs’ hospitals nor deemed

them suitable for such treatment. Yet OHA purposely leaves civilly committed patients who no

longer need emergency or acute psychiatric care, and who instead need long-term treatment, in
Plaintiffs’ hospitals indefinitely. In short, OHA effectively has outsourced its responsibility to

ensure adequate treatment for civilly committed patients to Plaintiffs’ hospitals, without their

consent and to the detriment of patients, the community, and Plaintiffs’ hospitals.

        46.       Further, dDue to the complex interplay between federal and state laws and

regulations, Plaintiffs have no choice but to become certified for at least some of the program

types above to avoid violating the law and jeopardizing Plaintiffs’ licensure and funding. This is

because, among other reasons, OHA requires hospitals to be approved and certified in order to

provide “care and treatment services for persons under civil commitment or for persons in

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 33            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 33       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 35 of 72




custody.” OAR 309-033-0530(1). In other words, Plaintiffs’ certifications are mandated by OHA

regulations, not sought voluntarily. Given all the circumstances described above, if Plaintiffs

failed to become certified, Plaintiffs inevitably would be forced to, among other things, provide

treatment to civilly committed personspatients without certification to do so.

E.      OHA’s conduct, policy, and practice hurtsarms both patients and community

        hospitals.

        47.       OHA harms civilly committed patients by failing to meet its duty to ensure

patients in need of long-term treatment receive it, and deliberately leaving patients indefinitely in

community hospitals that are not equipped or staffed to provide such treatment. This leads to an

unconscionable situation where individuals are denied the care that justifies their commitment in

the first place and that they are constitutionally entitled to receive. As a result, the patient’s

liberty is unnecessarily curtailed, the patient does not meaningfully recover and becomes more

likely to be re-committed, and the very purpose of civil commitment is undermined.

        8.         The following stories represent just some of the harrowing experiences48.

                   OHA knows that it is harming civilly committed patients have endured after

being committed to OHA and then left to languishbut continues to do it anyways. For example,

in community hospitals indefinitely, without access to appropriate long-term treatment.

        9.         In late 2021, an individual was brought by ambulance to the emergency
department of a community hospital after assaulting another resident at his group home. He was

on a trial visit after having been initially committed for 180 days in late 2020, and then

recommitted for another 180 days. Once evaluated in the emergency department, he revealed that

he was acting on command auditory hallucinations. Given his risk of assaultive behavior, he was

admitted to the acute behavioral health unit. The court then revoked his trial visit and remanded

him to the custody of OHA. The order should have resulted in him being transferred to an

appropriate long-term placement. But that did not happen, and he remained in the community

hospital. The court subsequently renewed his commitment for an additional 180 days. This order,

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 34           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 34      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24           Page 36 of 72




too, should have resulted in him being transferred to an appropriate long-term placement. But

again, that did not happen and he remained indefinitely in a restrictive acute care setting. During

his admission, the patient exhibited exceptionally aggressive behavior that was instantaneous and

unpredictable. He assaulted a nurse which resulted in a concussion, verbally threatened to kill

staff, threw objects at his care team, and cornered a nurse in the hallway. As a result of his

threatening and disruptive behavior, staff called out for their own mental health, voluntary

patients left, and one staff member resigned. The attending physician described the patient as

“ONE OF THE MOST DANGEROUS patients [he had] treated on an acute unit in [his] 30 plus

years as a psychiatrist.” The community hospital tried to get the patient admitted to OSH, but he

was denied expedited admission three times. On one of the denials, a physician from OSH said

“off the record” that the patient would almost have to kill someone to get in that way. Ultimately,

it took intervention8 in the civil commitment case by the hospital, until two days before a

hearing, OSH finally offered expedited admission. Had there been a hearing, the court would

have heard that this civilly committed individual spent over five months confined in a restrictive

setting, where he was only allowed to walk outside his room for 10-15 minutes per shift, could

not safely go outside for fresh air, and wore scrubs every day. The court would have heard that

this civilly committed individual spent 165 days in a community hospital, with no placement

decision ever being made by OHA to whom he was committed for treatment.
        In another instance in late 2021, an individual with chronic schizophrenia was arrested for

threatening pedestrians with a knife. Officers intervened in time, but had to use tasers, less than

lethal ammunition, and pepper spray to subdue him. He was arrested and taken to jail. Officials

asked to transfer him to OSH, but OSH denied the request. He was then placed on a magistrate’s

hold, which required him to be transported to a community hospital due to the court’s belief that

8
 Plaintiffs have intervened in civil commitment cases on several occasions to advocate for their
patients to receive appropriate long-term placements. Nevertheless, it is clear that intervention
will not be enough to create meaningful change because OHA has continued to use community
hospitals to house civilly committed individuals indefinitely, if not permanently.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT        EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND             1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                    888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 35          Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 35     Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                 Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                 Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 37 of 72




he was an imminent danger to self or others. Once in the emergency department, he was placed

on a notice of mental illness where he was held until being transferred to the behavioral health

unit and subsequently involuntarily committed to the custody of OHA for 180 days of treatment.

Again, after the commitmentcommitted to the custody of OHA for 180 days of treatment.

However, after the order was entered, OHA deliberately failed to make any placement decision

for him, and instead left him to languish in thea community hospital for almost his entire

commitment. The patient spent more than four months (a total of 137 days) confined in a

restrictive setting, where he spent his days in a small room, and cryingin anguish because he

wanted to get out of the hospital. Ultimately, it took intervention in the civil commitment case by

the communityThe hospital, a full day hearing, and several rounds of briefing and orders from the

trial and appellate courts until OHA complied and he was discharged could not release or

transfer this patient, and sought to a secure residential treatment facility in the spring of

2022provide the best care it could.

        10.       In early 2022, an individual with impulsive and unpredictable behavior

motivated by psychosis was admitted to an acute care hospital. This patient had a lengthy history

of psychiatric hospitalizations and interactions with the criminal justice system, including

convictions for attempted kidnapping, assault in the fourth degree, and strangulation. She was

involuntarily committed to OHA for 180 days of treatment on February 11. However, she
remained in the acute care hospital for the next 49 days. During that time, she required a one-on-

one sitter 24 hours a day, and frequently endorsed suicidal ideation with a plan to overdose and

homicidal ideation towards her family. She was hypersexual towards male patients and assaulted

several staff members. After 90 days, she was discharged on a trial visit, but she rapidly

decompensated in the community and was sent to jail. After her trial visit failed, OHA should

have taken custody of her. But that did not happen. Instead, she was sent back to the acute care

hospital. Due to her psychotic symptoms, the hospital was unable to keep other patients and staff

safe from her explosive and violent outbursts. She spent approximately 96 hours in seclusion.

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 36           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 36      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24           Page 38 of 72




She was placed on the wait list for OSH on May 3, but denied expedited admission. On July 15,

she was transferred to a Class Two secure residential treatment facility, only to return the next

day around midnight. According to reports from the facility, she engaged in highly aggressive

sexual behavior towards others, refused medication, and eloped. Staff were able to bring her

back, but she continued to refuse medication and engaged in inappropriate behavior. The facility

called 911, and she was taken back to the acute care hospital. Due to OHA’s failure to find an

appropriate long-term placement for her, she remained in the acute care hospital, confined in a

restrictive setting without access to appropriate long-term treatment for more than four months

until she was finally transferred to a secure residential treatment facility on November 17.

        In spring 2022, an individual presented49.         In 2022, an individual came to the

emergency department of a community hospital after she was found wandering the streets. She

presented with symptoms of schizoaffective disorder and psychosis. She was six weeks pregnant.

SheAfter she was detained and subsequently involuntarily committed to the custody of OHA for

180 days of treatment. Despite the court’s order committing her to OHA for treatment, OHA

never made a placement decision, and instead left her in the acute care hospital. She remained

there into the third trimester of her pregnancy, depressed, and sad that all of the other patients

were being discharged except for her.. She spent her birthday in the hospitalthere and was

isolated even more afterward. Due to OHA’s failure to find an appropriate long-term placement
for herfailures, she remained stuck in the acute care hospital, in the most restrictive setting

possible, that was not best able to treat her—for more than four months, while pregnant, and for

most of her entire 180-day commitment. The hospital could not release or transfer the patient,

and sought to provide the best care it could.

E.50. OHA’s practices negatively impact community hospitalsconduct, policy, and the

        community.

        11.       OHA’s practicespractice also negatively impactimpacts community hospitals.

When OHA abandons civilly committed patients are left in community hospitals, after the point

4868-8709-5093.2
 SECOND AMENDED COMPLAINT        EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND             1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                    888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 37          Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 37     Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                 Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                 Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 39 of 72




at which they require Plaintiffs to divert significant resources can no longer medically benefit

from receiving emergency and acute care, this prevents hospitals from being able to care for

other psychiatric patients in the community who are in need of emergency and acute care

resources—including other detained and civilly committed patients. Housing and providing

basic care to civilly committed patients and not Plaintiffs’ other patients. Civilly committed

patients requirerequires significant careresources and attention by physicians, nurses, and other

healthcare professionals—careresources and attention that Plaintiffs cannot simultaneously

direct toward other patients. Civilly committed individuals receive who would medically benefit

from emergency psychiatric and acute behavioral treatment. Basic care to such civilly committed

individuals includes provider time, provision of a hospital bed, medication, food, housekeeping

services, and other hospital resources, which Plaintiffs accordingly cannot allocate to other

patients. Oftentimes,

        civilly committed patients require a one-on-one sitter 24 hours a day to ensure their safety

and the safety of other patients and staff.

        12.       Due to acuity of illness, security personnel frequently are involved, and staff and

other patients are often threatened and sometimes injured, and sometimes hospital property is

destroyed. As a result of their illness and symptoms, civilly committed patients are often

disruptive to the care environment, affecting other patients, visitors, and staff and affecting51.
                  When the hospital care that can be provided to other patients.

        The beds unnecessarily occupied by civilly committed patients who no longer require

emergency or acute care are not available for other patients who need them (including other

detained and civilly committed patients), as patients back up in emergency departments, resulting

in hardship for others who need to access acutely needed medical and mental health treatment.

Some individuals are so acute that adjacent rooms must be closed for safety. In many cases, these

individuals cannot safely be in shared rooms, further reducing capacity.



4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 38           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 38      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 40 of 72




        52.       OHA’s practices depriveconduct, policy, and practice deprives Plaintiffs of their

property without due process of law and effectuateeffectuates a taking of Plaintiffs’ property as

OHA forces community hospitals to indefinitely hold and care for civilly committed individuals

who, by law, have been committed to the custody of OHA for treatment. Although OHA

provides Plaintiffs with a small amount of reimbursement for holding civilly committed patients,

the reimbursement received is inadequate, causing financial harm. and does not cover costs of

care, causing financial harm. Additionally, OHA does not require their Coordinated Care

Organizations to contract with all Oregon hospitals who are certified to provide care, resulting in

inadequate reimbursement for necessary medical care and no consequences for having failed

network panel adequacy as required by their contracts. In addition, Plaintiffs incur additional

expenses for additional staff and workers’ compensation costs, property damage, and room

closures, for which they are not reimbursed. Plaintiffs are all non-profitsnonprofits, but their

behavioral health units are suffering unsustainable losses that amount to tens of millions of

dollars a year. If this continues, some of these important behavioral health resources may be

forced to close.

        53.       Despite knowing of its unlawful practices for years, OHA continues to allow

them.engage in these practices. OHA benefits by passing the costs of treating severely mentally

ill patientsOregon’s civil commitment system to private entities., enabling OHA to avoid having
to provide additional funding and resources to this most vulnerable population. In effect, OHA

has silently outsourced the civil commitment system, including the role of OSH, to Oregon

health systems and acute care community hospitals without their consent or agreement.

        54.       The negative impact of OHA’s practices, conduct, failures, and inaction on

Plaintiffs and other Oregon community hospitals are severe and ongoing. Because the patients

are civilly committed, they can only be discharged to secure settings, or else must be kept in the

hospital until they no longer meet commitment criteria. This can mean hospital stays of several

weeks, to several months, up to the entire 180-day commitment, and, in some cases, through

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 39            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 39       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN         Document 115-3             Filed 10/01/24           Page 41 of 72




recommitment periods as well. In turn, this prevents community hospitals from being able to

treat and stabilize other vulnerable patients experiencing mental health crises, many of whom are

also struggling with substance abuse disorder and houselessness in addition to mental illness.
        F.      Rather than engage meaningfully with
D.F. Despite having ample opportunities to address the problem, OHA has failed to find
        a solution for civilly committed individuals and blamed the counties and nonprofit
        care providers.
        13.       55.   Over the past several years, Plaintiffs have pleadeddevoted significant

time, energy, money, and other resources to plead with OHA for assistance and support in

findingproviding appropriate long-term placements for civilly committed individuals countless

times.. Plaintiffs have asked OHA to seek more resources, expand services, and build capacity

rather than detain civilly committed individuals indefinitely in restrictive acute care settings.

Plaintiffs have offered to collaborate with OHA to find, or invent, a workable solution. Almost

without exception, OHA has been unresponsive and has failed to provide a solution for the

patients for whom it is responsible., rather than detain civilly committed individuals indefinitely

in restrictive acute care settings. Plaintiffs have offered to collaborate with OHA to find, or

invent, a workable solution. Almost without exception, OHA has been unresponsive and has

failed to provide a solution for the patients for whom it is responsible.

        In fact, Plaintiffs have also asked OHA to hold the Coordinated Care Organizations

accountable for reimbursement for their members who are placed in non-contracted hospitals.
OHA has gone so far asalso failed to deny having any responsibilityprovide a solution for civilly

committedthese patients and asserting that all its responsibility has been delegated to counties. In

sworn testimony to a trial court on February 11, 2022, OHA’s behavioral health director Steve

Allen testified as follows:for whom their contracted entities are responsible.
         56.    OHA’s failure to provide appropriate and legally required treatment to civilly
committed individuals—and the negative impact on patients and Oregon’s community
hospitals—is well known to OHA. A 2017 study for OHA concluded: “Patients at the state
hospital for aid and assist take up beds that could be used for civil commitment patients. This
results in more civilly committed individuals waiting in acute care for a state hospital bed to
open up. This decreases the access to acute care beds, which causes a backup in the ED. Multiple
strategies have tried to reverse this trend with only minimal success. OHA is revitalizing

4868-8709-5093.2
 SECOND AMENDED COMPLAINT        EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND             1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                    888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 40          Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 40     Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                 Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                 Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
        Case 6:22-cv-01460-AN        Document 115-3             Filed 10/01/24           Page 42 of 72




planning and actions and will have a strategic action plan in place by February 2017.”9




        In testimonyDespite having known of its practices since 2017, OHA has continued to the

legislature on February 18, 2022, Mr. Allen testified as follows with respect to OHA’s role in

providing appropriate treatment ignore its obligations and knowingly reduced long-term

placement options for civilly committed patients: “we don’t actually do the work.”10 over that

time.

        14.       And in sworn testimony to a trial court on August 24, 2022, Defendant Patrick

Allen, testifying for OHA, would not answer whether OHA had responsibility to an individual

committed to OHA for 180 days of treatment as a civilly committed individual. Instead, Mr.
Allen testified that OHA had delegated responsibility for civilly committed patients to the county

and that “they would have the primary responsibility.”


9
  Oregon Health Authority, Emergency Department Boarding of Psychiatric Patients in Oregon,
Report Briefing, Feb. 1, 2017, available at
https://www.oahhs.org/assets/documents/files/publications/0%20OHA%20Psychiatric%20ED%
20Boarding%20Report%20Brief%20Final.pdf.https://www.oahhs.org/assets/documents/files/publ
ications/0%20OHA%20Psychiatric%20ED%20Boarding%20Report%20Brief%20Final.pdf.
10
   Relevant portions of his testimony begin at about 1:41:00, and can be accessed at the following
link: https://olis.oregonlegislature.gov/liz/mediaplayer/?clientID=4879615486&eventI
D=2022021222.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT        EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR          LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND             1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                    888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 41          Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 41     Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                 Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                 Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 43 of 72




        57.       In 2023, Oregon Governor Tina Kotek directed OHA to lead a new study to

evaluate Oregon’s behavioral health facility capacity, including whether Oregon had enough

psychiatric and residential treatment beds across the state. OHA contracted with Public

Consulting Group LLC (“PCG”) to complete the study. PCG issued its final report in June 2024

(“OHA Report”). Notably, the OHA Report shows that Oregon needs more than 3,700 adult

behavioral health treatment beds across the continuum of care to close gaps in the current system

of care and ensure Oregonians have access to the appropriate level of care. The OHA Report

makes several findings, which squarely confirm that Oregon has a behavioral health treatment

bed shortage of constitutional magnitude and that as a result, hHospitals cannot transfer patients

elsewhere to receive the appropriate level of care because, almost always, there is nowhere for

them to go. Among other things, it projects that an additional 486 acute psychiatric inpatient

beds are initially needed to meet demand. It also reveals a severe shortage of beds in secure

residential treatment facilities (SRTF): there are 510 SRTF beds in Oregon—but because 165

beds are at OSH and “are not readily accessible to those in a community setting,” this “limits the

total number of SRTF beds available within the State to 345, which strains the care continuum

for this type of bed.” According to the OHA Report, even if 77 SRTF beds are added by next

year, Oregon will still need another 198 SRTF beds to meet demand. The OHA Report notes

that, due to the lack of beds, hospitals offering emergency services experience “[e]xtended wait
times” in transferring patients to other facilities, which “often [leads] to individuals spending

multiple days or weeks in the emergency department while waiting for available placements.” It

describes how community partners shared concerns that “there is nowhere to place individuals

experiencing a mental health crisis” and that “[o]ften, these individuals must stay in the

facilities’ emergency department, putting a strain on available resources.”

        58.       Despite having ample opportunities to deliberate, OHA has indifferently indicated

no serious intent or interest in changing its ways. OHA officials apathetically shrug their

shoulders and say that they lack funding to address the problem, that Plaintiffs will simply have

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 42           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 42      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN            Document 115-3             Filed 10/01/24           Page 44 of 72




to keep forfeiting their property, and—most troublingly—that civilly committed patients will

simply have to continue foregoing needed long-term treatment, despite being entitled to it.

        59.       OHA may not delegateoutsource its ultimate responsibility to provide

constitutionally adequate care to civilly committed patients. By law, OHA is responsible for

ensuring that civilly committed individuals receive appropriate long-term placementstreatment

because civilly committed individuals are committed to OHA, not the county or a community

mental health program. ORS 426.130(1)(a)(C) (the court may “order commitment of the person

with mental illness to the Oregon Health Authority for treatment”); ORS 426.060(1)

(“[c]ommitments to the Oregon Health Authority are only toshall be made only by a the judge of

a circuit court in a county of this state.”). As such, Plaintiffs seek declaratory and injunctive

relief against OHA’s unlawful practices.

                                         CAUSES OF ACTION

G.      Plaintiffs have third-party standing to advocate for civilly committed patients.

        60.       Plaintiffs have standing to assert claims on behalf of civilly committed patients

being cared for in Plaintiffs’ hospitals. Plaintiffs’ interests as healthcare providers are closely

aligned with the interests of their patients on these issues. As healthcare providers, Plaintiffs

have inherently close, fiduciary, and confidential relationships with patients. Plaintiffs’ care

teams (including doctors, nurses, and staff members) provide patients with medical and
psychiatric treatment. Hospitals provide patients with healthcare and housing and safeguard

patients’ confidential information. Protection of patients’ rights, and ensuring patients receive the

appropriate care, is integral to Plaintiffs’ missions to provide high-quality, compassionate, and

patient-centric care to patients and the community.

        61.       Plaintiffs’ interests in this case are further aligned with those of their civilly

committed patients because the only relief Plaintiffs seek in this case will only benefit, and not

harm, Plaintiffs’ patients. Plaintiffs’ desired relief—(1) for civilly committed patients to have

access to the most appropriate and least restrictive long-term treatment options once they are

4868-8709-5093.2
 SECOND AMENDED COMPLAINT           EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR             LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND                1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                       888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 43             Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 43        Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                    Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                    Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 45 of 72




ready for such care, and (2) for Plaintiffs to be able to treat more civilly committed patients who

enter through their emergency rooms—aligns with patients’ interests. If Plaintiffs are successful

in this lawsuit, it will result in civilly committed patients having access to the most appropriate

and least restrictive long-term treatment options, while opening more beds for detained and

civilly committed patients in need of emergency and acute care. In short, successfully

compelling OHA to cease its unconstitutional practices will stop injuries to both patients and

Plaintiffs simultaneously.

        62.       Plaintiffs are not seeking any relief that will result in fewer placement options for

civilly committed patients, the creation of less-suitable placement options for Plaintiffs’ patients,

or that will allow for the premature discharge of Plaintiffs’ patients to inappropriate settings.

Critically, Plaintiffs seek no relief in which a patient receiving treatment at Plaintiffs’ hospitals

will receive less treatment at Plaintiffs’ hospitals, unless and until more suitable treatment for

that patient is available elsewhere and it is in the patients’ best interests to receive that treatment.

Nor are Plaintiffs seeking to treat fewer or less-acute civilly committed patients. Indeed, any

such outcomes would contravene Plaintiffs’ missions to ensure high-quality, compassionate, and

patient-centric healthcare for patients and the community. The only outcome Plaintiffs will be

satisfied with is one in which OHA creates more treatment options for Plaintiffs’ patients, in

addition to those that already exist within Plaintiffs’ hospitals and elsewhere in Oregon.11 Unless
and until OHA ensures that additional treatment options are available, Plaintiffs will continue

treating all civilly committed patients in their care—as Plaintiffs have for decades—in

accordance with Plaintiffs’ patient-focused nonprofit missions.

        63.       Civilly committed patients face several hindrances from bringing an action for

injunctive relief themselves, in which they would seek for OHA to provide constitutionally


11
  OHA could expand available treatment options by, among other things, funding the creation of
additional independent or state-run SRTFs throughout Oregon, or expanding bed capacity at
OSH, or both.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 44            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 44       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 46 of 72




adequate treatment during the period of their commitment. First, civilly committed patients are

generally committed for 180 days, making it likely that their injuries and equitable claims for

relief will become moot before litigation can run its course. Second, civilly committed patients

face a recognized stigma for their commitment and thus are inherently disincentivized from

bringing a public action related to their commitment.12 See generally State v. T.T., 293 Or. App.

376, 386, 428 P.3d 921, 927 (2018) (Aoyagi, J., dissenting) (noting the “serious . . . social stigma

. . . attendant to a civil commitment”); Pa. Psychiatric Soc’y v. Green Spring Health Servs., Inc.,

280 F.3d 278, 290 (3rd Cir. 2002) (“[t]he stigma associated with receiving mental health services

presents a considerable deterrent to litigation.”). Third, civilly committed patients suffer from

severe mental illnesses that often involve severe symptoms including psychosis, hallucinations,

and delusions. This makes it exceptionally difficult for them to advocate for themselves or even

find and hire someone to advocate for them.13 And finally, civilly committed patients may lack

the resources to pursue litigation of this scale. Pa. Psychiatric Soc’y, 280 F.3d at 290. These

obstacles have all been deemed sufficient hindrances to justify third-party standing. Singleton v.

Wulff, 428 U.S. 106, 117 (1976); Pa. Psychiatric Soc’y, 280 F.3d at 291–92.

                                                CLAIMS

                                            FIRST CLAIM

Violation of Civilly Committed Individuals’ Substantive Due Process Rights Under the Due
                                     Process Clause
              of the Fourteenth Amendment to the United States Constitution

        64.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 5063 above.


12
  There is a reason civil commitment court case files are closed to the public.
13
  Patients are generally assigned no one to advocate on their behalf because Oregon’s civil
commitment scheme does not provide them with counsel after the point of commitment. While
individuals who are detained have a right to counsel during the court process leading up to an
order of commitment, that representation ends at the time the order is entered. Having been
civilly committed, individuals are no longer represented by counsel to protect their rights. They
are lost to the oversight of the courts that have committed them, as is OHA, which disclaims
responsibility for their care.
4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 45           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 45      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 47 of 72




        65.       All individuals have the constitutional right not to be deprived of liberty without

due process of law. U.S. Const. amend. XIV, § 1. Involuntarily detaining a person due to mental

illness is “a massive curtailment of liberty.” Humphrey, 405 U.S. at 509.

        66.       The Due Process Clause of the Fourteenth Amendment protects two distinct but

related rights: procedural due process and substantive due process. Procedural due process

prohibits governmental deprivation of liberty without adequate procedure. Cleveland Bd. Ofof

Educ. v. Loudermill, 470 U.S. 532, 541 (1985). Substantive due process forbids the government

from depriving a person of liberty in such a way that “shocks the conscience” or “interferes with

rights implicit in the concept of ordered liberty.” Emmert Indus. Corp. v. City of Milwaukie, 450

F. Supp. 2d 1164, 1175 (D. Or. 2006) (quoting Nunez v. City of Los Angeles, 147 F.3d 867, 871

(9th Cir. 1998)). Liberty interests “may arise from either of two sources: the due process clause

itself or state law.” Carver v. Lehman, 558 F.3d 869, 872 (9th Cir. 2009).

        67.       Civilly committed individuals have a constitutional liberty interest in being free

from bodily restraint. The state may involuntarily detain individuals for purposes of providing

treatment; however, individuals who are involuntarily detained for this purpose “have a liberty

interest in receiving restorative treatment.” Mink, 322 F.3d at 1121. Due process requires that

mentally ill persons who are detained receive treatment calculated to lead to the end of their

involuntary detention. Id. To that end, states must provide all civilly committed persons with
access to mental health treatment that gives them “a realistic opportunity to be cured or to

improve [the] mental condition” for which they were confined. Ohlinger, 652 F.2d at 779.

“Adequate and effective treatment is constitutionally required because, absent treatment, [civilly

committed persons] could be held indefinitely as a result of their mental illness.” Id. at 778.

        68.       Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant Patrick AllenSejal Hathi, MD, was a person acting under color of state

law who is liable for OHA’s unconstitutional conduct, policy, and practice.

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 46            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 46       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 48 of 72




        69.       For years, OHA has engaged in conduct and a policy and practice that violates

civilly committed individuals’ right to substantive and procedural due process. OHA’s conduct,

policy, and practice violates civilly committed individuals’ liberty interest in restorative

treatment and deprives them of a realistic opportunity to be cured or improve the mental

condition for which they were confined. When OHA leaves civilly committed individuals

indefinitely in acute care community hospitals, they do not receive access to specialized

treatment, care, and training oriented to their long-term needs and focused on their reentry into

the community. Instead, they remain confined in unnecessary, overly- restrictive acute care

settings without access to long-term treatment for weeks, months, and sometimes their entire

180-day commitment. As a result of OHA’s practices, they are more likely to be recommitted

and cycle through the system over and over again.

        70.       OHA lacks legitimate state interests in leaving civilly committed patients in

unnecessary, overly restrictive acute care settings where patients do not receive access to

minimallyconstitutionally adequate long-term treatment and transition services. Despite knowing

of its practices for years, OHA has deliberately avoided addressing these problems, at least in

part because OHA directly benefits from its practices by effectively outsourcing the civil

commitment processsystem to community hospitals and making community hospitals bear

OHA’s would-be costs, responsibilities, and liabilities.
        71.       There is no state law procedure for community hospitals to ensure civilly

committed individuals are placed by OHA in the facility best able to treat them or a suitable

facility during their 180-day commitment, so they can receive appropriate long-term treatment.

        72.       OHA will continue engaging in its conduct, policy, and practice in violation of the

Fourteenth Amendment unless the Court enjoins such conduct. As demonstrated by its inaction,

despite repeated pleas to OHA for help over the years, it is clear that OHA intends to continue

using community hospitals to house civilly committed individuals indefinitely, if not



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 47            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 47       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 49 of 72




permanently. Declaratory and injunctive relief are appropriate because community hospitals lack

an adequate remedy at law to protect their patients’ right to appropriate long-term treatment.

        73.       Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

civilly committed individuals’ Fourteenth Amendment substantive due process rights. Plaintiffs

also seek a permanent injunction enjoining OHA from continuing its conduct, policy, and

practice.

        74.       Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                           SECOND CLAIM

     Violation of Civilly Committed Individuals’ Procedural Due Process Rights Under
                the Fourteenth Amendment to the United States Constitution

        75.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 74 above.

        76.       There is no adequate state law procedure for either community hospitals or civilly

committed patients to contest civilly committed patients’ forced housing in community hospitals.

Although Oregon regulations purport to provide an appeal mechanism for patients who desire

assignment to a different facility, the procedure is illusory and futile and, further, provides for no

due process before a patient is deprived of liberty. Neither community hospitals nor civilly
committed patients are being afforded a meaningful opportunity to be heard regarding whether

civilly committed patients should be committedremain in Plaintiffs’ community hospitals for

long-term treatment lasting up to 180 days. Rather, OHA is simply leaving patients at Plaintiffs’

hospitals without any meaningful process. Nor is there a remedy available for civilly committed

patients to seek compensation from OHA or their contracted Coordinated Care Organizations for

costs associated with OHA forcibly housing civilly committed individuals.

        77.       OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 48            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 48       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 50 of 72




and injunctive relief are appropriate because Plaintiffs and civilly committed patients lack an

adequate remedy at law. Plaintiffs seek a declaration that OHA’s conduct, policy, and practice

violates community hospitals’civilly committed patients’ Fourteenth Amendment substantive

and procedural due process rights. Plaintiffs also seek a permanent injunction enjoining OHA

from continuing its policy and practice.

        78.       Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys’ fees and costs in bringing this action.

                                            THIRD CLAIM

                                          SECOND CLAIM

Violation of Community Hospitals’ Substantive Due Process Rights Under the Due Process

                                                  Clause

                                             of
                   the Fourteenth Amendment to the United States Constitution
        79.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 5078 above.

        80.       The Due Process Clause of the Fourteenth Amendment provides that states shall

not “deprive any person of life, liberty, or property without due process of law.” U.S. Const.

amend. XIV, § 1. The Due Process Clause “specially protects those fundamental rights and

liberties which are, objectively, deeply rooted in the Nation’s history and tradition, and implicit
in the concept of ordered liberty, such that neither liberty nor justice would exist if they were

sacrificed.” Washington v. Glucksberg, 521 U.S. 702, 720–21 (1997). The right to exclude others

from an owner’s property and to use the property as the owner sees fit is one such fundamental

right. Lingle v. Chevron U.S.A., Inc., 544 U.S. 528, 539 (2005).

        81.       The Due Process Clause of the Fourteenth Amendment protects two distinct but

related rights: procedural due process and substantive due process. Procedural due process

prohibits governmental deprivation of liberty and property rights without adequate procedure.


4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 49           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 49      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 51 of 72




Cleveland Bd. of Educ., 470 U.S. at 541. Substantive due process forbids the government from

depriving a person of life, liberty, or property in such a way that “shocks the conscience” or

“interferes with rights implicit in the concept of ordered liberty.” Emmert Indus. Corp., 450

F. Supp. 2d at 1175 (quoting Nunez, 147 F.3d at 871).

        82.       Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant Patrick AllenSejal Hathi, MD, was a person acting under color of state

law who is liable for OHA’s unconstitutional conduct, policy, and practice.

        83.       For years, OHA has engaged in conduct and a policy and practice that violates

Plaintiffs’ and other community hospitals’ right to substantive and procedural due process.

Specifically, OHA has knowingly and/or deliberately failed to build or otherwise ensure the

availability of long-term treatment capacity for individuals who have been civilly committed to

its care under ORS 426.060. OHA has failed to do so for no reason that furthers public health,

safety, or welfare. Rather, OHA has failed to do so because it purportedly lacks funding to

provide care for such patients and wishes to avoid devoting necessary funding and resources to

such patients, regardless of any violation of their (or Plaintiffs’) constitutional rights. OHA does

this despite knowing of the detrimental consequences for patients and hospitals and, moreover,

that multiple federal courts have ruled OHA’s reasons to be insufficient as a matter of law, see
Ohlinger, 652 F.2d at 779, Or. Advocacy Ctr., 322 F.3d at 1121, Bowman, 2021 WL 5316440, at

*2.

        84.       OHA’s conduct, policy, and practice results in a takingdeprivation of Plaintiffs’

property belonging to Plaintiffs and other community hospitals for public use and a denial of

Plaintiffs’ fundamental right to use its hospital beds. When aOHA’s failures cause civilly

committed individual is committed to the custody of OHA and not immediately transferred to an

appropriate long-term placement,patients to stay in Plaintiffs’ hospitals after the point when they

can no longer medically benefit from emergency and acute psychiatric care, and results in the

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 50            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 50       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3            Filed 10/01/24           Page 52 of 72




relevant community hospital is requiredhaving to house the individual for weeks, months, and

sometimes their entire 180-day commitment and recommitment period. As a result, community

hospitals are deprived of using their hospital beds for other patients in need of emergency and

acute psychiatric care (including other detained and civilly committed patients), which

negatively impacts community hospitals’ ability to serve the community and have throughput in

their emergency departments, which are often full of patients waiting to be admitted. Because of

OHA’s failure to comply with its statutory obligations, Plaintiffs and other community hospitals

must dedicate significant resources to civilly committed patients who have no medical reason to

be in acute care settings., preventing Plaintiffs from providing emergency psychiatric and acute

behavioral care to other patients who do have a medical reason to be in acute care settings

(including other civilly committed individuals or pre-commitment individuals, to whom

Plaintiffs want to provide emergency psychiatric and acute behavioral treatment). These

resources include not only the costs associated with medicating and housing these individuals for

extended periods of time, but also damage to hospital property as well as the services of its care

providers and other precautions needed, such as security and one-on-one sitters, to ensure the

safety of the individual and others.

        85.       OHA has known about its practices—and the resulting effects on community

hospitals—for years but has failed to meaningfully address these problems. OHA has
deliberately and indifferently avoided addressing these problems at least in part because OHA

directly benefits from its practices, and the resulting harm to community hospitals and patients,

by effectively outsourcing the civil commitment processsystem to community hospitals and

making community hospitals bear OHA’s would-be costs, responsibilities, and liabilities.

        86.       OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

and injunctive relief are appropriate because Plaintiffs lack an adequate remedy at law.



4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 51           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 51      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 53 of 72




        87.       Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

community hospitals’ Fourteenth Amendment substantive and procedural due process rights.

Plaintiffs also seek a permanent injunction enjoining OHA from continuing its policy and

practice.

        88.       Plaintiffs do not seek compensatory damages for OHA’s due process violations.

Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their attorneys’ fees and

costs in bringing this action.

                                           FOURTH CLAIM

            Violation of Community Hospitals’ Procedural Due Process Rights Under
                  the Fourteenth Amendment to the United States Constitution

        89.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 88 above.

        90.       There is no adequate state law procedure for community hospitals to contest being

forced to house civilly committed individuals indefinitely during their 180-day commitment.

Although Oregon civil commitment procedure involves a process by which OHA or its delegee

consults with the admitting physician of a hospital to “determine whether the best interests of a

committed person are served by an admission to [that] community hospital,”

OAR 309-033-0270(3)(a), that procedure is not being followed. Plaintiffs are not being afforded

a meaningful opportunity to be heard regarding whether a civilly committed patient should be
committed to Plaintiffs’ community hospitals for long-term treatment lasting up to 180 days.

Rather, OHA is simply leaving patients at Plaintiffs’ hospitals without any meaningful process.

Nor is there a remedy available for community hospitals to seek compensation from OHA or

their contracted Coordinated Care Organizations for most of its costs associated with OHA

forcing them to house civilly committed individuals in lieu of OHA providing placements for

them at OSH or anotherin an appropriate long-term treatment facility. OHA’s policy and practice

has resulted in working conditions for Plaintiffs’ care providers that many find intolerable. As a

result, an already difficult workforce shortage has become a crisis. The strains on Plaintiffs’ care

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 52            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 52       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 54 of 72




providers and resources are not sustainable, presenting a risk of loss of critical mental health

services to members of the community who are in crisis.

        91.       OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

and injunctive relief are appropriate because Plaintiffs lack an adequate remedy at law. Plaintiffs

seek a declaration that OHA’s conduct, policy, and practice violates community hospitals’

Fourteenth Amendment substantive and procedural due process rights. Plaintiffs also seek a

permanent injunction enjoining OHA from continuing its policy and practice.

        92.       OHA will continue engaging in its policy and practice in violation of the Due

Process Clause of the Fourteenth Amendment unless the Court enjoins such conduct. Declaratory

and injunctive relief are appropriate because Plaintiffs lack an adequate remedy at law.

        Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates community

hospitals’ Fourteenth Amendment substantive and procedural due process rights. Plaintiffs also

seek a permanent injunction enjoining OHA from continuing its policy and practice.

        Plaintiffs do not seek compensatory damages for OHA’s due process violations. Plaintiffs

seek only declaratory relief, injunctive relief, nominal damages, and recovery of their attorneys’

fees and costs in bringing this action.

                                            FIFTH CLAIM
                                            THIRD CLAIM

             Violation of Community Hospitals’ Rights Under the Takings Clause
         of the Fifth Amendment to the United States Constitution (Physical Taking)

        93.       Plaintiffs reallege and incorporate by reference paragraphs 1 through 5092 above.

        94.       The Takings Clause of the Fifth Amendment to the United States Constitution

prohibits the taking of private property for public use, without just compensation. U.S. Const.

Amend. V. The Fifth Amendment is applicable to individual states pursuant to the Fourteenth

Amendment.

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 53           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 53      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 55 of 72




        95.       The Takings Clause “was designed to bar Government from forcing some people

alone to bear public burdens which, in all fairness and justice, should be borne by the public as a

whole.” Armstrong v. United States, 364 U.S. 40, 49 (1960). The prohibition extends not only to

aincludes physical takingtakings in which the government condemns or physically appropriates

an owner’s real and personal property, but also regulatory interferences which occur when a

significant restriction is placed on an owner’s ability to use its own property for which justice

and fairness require that compensation be given.. Cedar Point Nursery v. Hassid, 141 S. Ct.

2063, 2071-–72 (2021).

        96.       Pursuant to 42 U.S.C. § 1983, every person acting under color of law who

deprives another person of his or her constitutional rights is liable at law and in equity. At all

times relevant, Defendant Patrick AllenSejal Hathi, MD, was a person acting under color of state

law who is liable for OHA’s unconstitutional conduct, policy, and practice.

        97.       For years, OHA has engaged in conduct and a policy and practice that results in a

physical taking of Plaintiffs’ and other community hospitals’ property for public use without just

compensation. Once a general judgment of commitment is entered and individuals are stabilized

and civilly committed to the custody of OHA for up to 180 days of treatment, they are supposed

to be transferred to an appropriate long-term treatment facility. OHA is supposed to ensure they

are transferred to the facility best able to treat them or a suitable facility at the time of
commitment. Instead, however, after individuals are civilly committed—and as a result no longer

represented by counsel to protect their rights—these individuals are left indefinitely in restrictive

and confined settings in acute care hospitals, where they are forgotten by OHA.

        98.       Because civilly committed individuals who are committed to the custody of OHA

for treatment are occupying community hospital beds for weeks, months, and sometimes their

entire 180-day commitment and recommitment periods, OHA’s conduct deprives Plaintiffs and

other community hospitals of their hospital beds. It results in beds being unnecessarily occupied

by civilly committed individuals who have no medical reason to be in an acute care setting, and

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 54           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 54      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 56 of 72




prevents other acute psychiatric patients in the community from accessing much needed care,

including patients who are backed up in emergency departments. Because of OHA’s actions,

community hospitals are deprived of the services of its care providers, forced to incur costs

associated with housing patients who should be elsewhere, and left with no choice but to devote

significant resources to patients who have no medical reason to be there, including medication,

food, housekeeping services, security, and one-to-one sitters 24 hours a day.

        99.       OHA doesand their contracted Coordinated Care Organizations do not provide

sufficient compensation to cover the costs and fair value of Plaintiffs’ property used to care for

civilly committed patients left at Plaintiffs’ hospitals.

        100.      OHA will continue engaging in its conduct, policy, and practice in violation of the

Fifth and Fourteenth Amendments unless the Court enjoins such conduct. As demonstrated by its

inaction, despite repeated pleas to OHA for help over the years, it is clear that OHA intends to

continue using Plaintiffs’ hospitals and other community hospitals to house civilly committed

individuals indefinitely, if not permanently. Declaratory and injunctive relief are appropriate

because community hospitals lack an adequate remedy at law.

        101.      Seeking just compensation for OHA’s repeated deprivations of Plaintiffs’

property would require Plaintiffs to repeatedly litigate a multiplicity of suits involving the same

and similar repeated deprivations of property as long as OHA’s practices continues indefinitely.
This is an inadequate remedy. Plaintiffs cannot feasibly seek adequate and just compensation

through individual legal actions for each civilly committed patient left in Plaintiffs’ care because,

among other reasons, the expenses of pursuing so many individual legal actions wouldmay

exceed the compensation Plaintiffs seek to recover. By contrast, equitable relief that includes a

declaration and injunction will protect Plaintiffs from OHA’s current ongoing and future harms.

        102.      Plaintiffs accordingly seek a declaration that OHA’s conduct, policy, and practice

violates Plaintiffs’ and other community hospitals’ Fifth and Fourteenth Amendment rights.



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 55            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 55       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 57 of 72




Plaintiffs also seek a permanent injunction enjoining OHA from continuing its conduct, policy,

and practice.

         103.     Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’attorneys’ fees and costs in bringing this action.

                                             SIXTH CLAIM

                                           FOURTH CLAIM

                Violation of Community Hospitals’ Rights under Article I, Section 18
                            of the Oregon Constitution – Unlawful Taking
                     Violation of Title II of the Americans with Disabilities Act,
                            42 U.S.C. §§ 12131 et seq., 28 C.F.R. § 35.130

         104.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 50103

above.

         105.     Title II of the Americans with Disabilities Act (ADA) provides that “no qualified

individual with a disability shall, by reason of such disability, be excluded from participation in

or be denied the benefits of the services, programs, or activities of a public entity, or be subjected

to discrimination by any such entity.” 42 U.S.C. § 12132.

         106.     In enacting the ADA, Congress found that “historically, society has tended to

isolate and segregate individuals with disabilities, and, despite some improvements, such forms
of discrimination against individuals with disabilities continue to be a serious and pervasive

social problem[.]” 42 U.S.C. § 12101(a)(2). Among the areas in which Congress found that

discrimination persists was “institutionalization . . . and access to public services[.]” 42 U.S.C.

§ 12101(a)(3). “[I]ndividuals with disabilities continually encounter various forms of

discrimination, including . . . segregation and relegation to lesser services, programs, activities,

benefits, jobs, or other opportunities.” 42 U.S.C. § 12101(a)(5). According to Congress, “the

Nation’s proper goals regarding individuals with disabilities are to assure equality of


4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 56            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 56       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 58 of 72




opportunity, full participation, independent living, and economic self-sufficiency for such

individuals.” 42 U.S.C. § 12101(a)(7).

         107.     More than 25 years ago, in Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 597

(1999), the United States Supreme Court held that the unnecessary institutionalization of

individuals with disabilities is a form of discrimination prohibited under Title II of the ADA.

         108.     The regulations implementing Title II of the ADA similarly state that “[a] public

entity shall administer services, programs, and activities in the most integrated setting

appropriate to the needs of qualified individuals with disabilities.” 28 C.F.R. § 35.130(d);

Olmstead, 527 U.S. at 592 (quoting Title II regulation). The integration mandate of Title II of the

ADA protects both people who are currently institutionalized and people with disabilities who

are at risk of re-institutionalization. See, e.g., M.R. v. Dreyfus, 697 F.3d 706, 720, 734 (9th Cir.

2012).

         109.     Civilly committed patients have severe mental illnesses that substantially limit

one or more major life activities. Civilly committed patients are qualified individuals with

disabilities within the meaning of Title II of the ADA and meet the essential eligibility

requirements for the receipt of services, programs, or activities of OHA. 42 U.S.C. § 12131(2).

         110.     OHA is a public entity as used in Title II of the ADA. 42 U.S.C. § 12131(1)(B).

Defendant, acting in her official capacity, is a public entity as defined by the ADA, 42 U.S.C.
§ 12131, and its implementing regulations, 28 C.F.R. § 35.104.

         111.     Title II of the ADA prohibits OHA from discriminating against civilly committed

patients in its services, programs, and activities. 42 U.S.C. § 12132.

         112.     Treatment professionals at Plaintiffs’ community hospitals believe that

community-based treatment is appropriate for civilly committed patients who have stabilized and

are ready for that level of treatment. Civilly committed patients do not oppose community-based

treatment. These services can be reasonably accommodated.



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 57            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 57       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 59 of 72




        113.      Despite that, OHA has institutionalized civilly committed patients, or placed them

at serious risk of institutionalization, in Plaintiffs’ acute care hospitals, even though they need

community-based treatment, in violation of the integration mandate.

        114.      OHA’s unnecessary institutionalization of civilly committed individuals is exactly

the sort of unlawful discrimination prohibited by Title II of the ADA under the Supreme Court’s

landmark Olmstead decision. OHA is legally obligated to administer its services, programs, and

activities to civilly committed patients in the most integrated setting appropriate to their needs,

28 C.F.R § 35.130(d), and is prohibited from unjustifiably institutionalizing and segregating

them during their entire 180-day commitment. See Olmstead, 527 U.S. at 587.

        115.      OHA violates the ADA, and its implementing regulations, including as follows:

                  a.     By administering the state’s mental health system in a way that subjects

        civilly committed patients to unnecessary institutionalization in acute care community

        hospitals instead of providing them with community-based treatment resources.42 U.S.C.

        § 12132.

                  b.     By directly or through contractual, licensing, or other arrangements,

        providing aids, benefits, or services in such a way that denies civilly committed patients

        the opportunity to participate in or benefit from such aids, benefits, or services; failing to

        afford civilly committed patients an equal opportunity to participate in or benefit from
        such aids, benefits, or services; providing aids, benefits, or services in such a way that

        civilly committed patients are not afforded equal opportunity to obtain the same result as

        that provided to others; and by otherwise limiting civilly committed patients in the

        enjoyment of a right, privilege, advantage, or opportunity enjoyed by others receiving the

        aid, benefit, or service. 28 C.F.R. § 35.130(b)(1).

                  c.     By directly or through contractual or other arrangements utilizing criteria

        or methods of administration ofin the state’s mental health system that subject civilly



4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 58           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 58      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN            Document 115-3             Filed 10/01/24           Page 60 of 72




        committed patients to discrimination on the basis of their disabilities. 28 C.F.R.

        § 35.130(b)(3).

                  dc.    By failing to administer services, programs, and activities in “the most

        integrated setting” appropriate to the needs of civilly committed patients. 28 C.F.R.

        § 35.130(d).

                  ed.    By failing to make reasonable modifications to allow civilly committed

        patients to participate in OHA’s services, programs, and activities in an integrated

        community setting. 28 C.F.R. § 35.130(b)(7).

        116.      Providing civilly committed patients with the community-based treatment

resources they need to avoid unnecessary institutionalization would not fundamentally alter

OHA’s programs, services, or activities.

        117.      As a result of OHA’s actions and inactions, civilly committed patients have

suffered and will continue to suffer irreparable harm, discrimination, institutionalization, and the

inability to access community-based mental health services and support.

        118.      In the absence of declaratory and injunctive relief, OHA will continue to

institutionalize and deny civilly committed patients their right to live in the most integrated

setting appropriate to their needs.

        119.      Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their
attorneys’ fees and costs in bringing this action.

                                           SEVENTH CLAIM

    Violation of Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, 28 C.F.R. § 41.51

        120.      Plaintiffs reallege and incorporate by reference paragraphs 1 through 119 above.

        121.      Section 504 of the Rehabilitation Act mandates that “[n]o otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).

4868-8709-5093.2
 SECOND AMENDED COMPLAINT           EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR             LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND                1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                       888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 59             Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 59        Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                    Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                    Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 61 of 72




        122.      The Rehabilitation Act contains an “integration mandate” requiring covered

entities to provide any aid, benefit, and service that affords people with disabilities “equal

opportunity to obtain the same result, to gain the same benefit, or to reach the same level of

achievement” . . . “in the most integrated setting appropriate to the person’s needs.” 28 C.F.R.

§ 41.51(b)(1)(iii), (d).

        123.      Civilly committed patients are qualified individuals with disabilities entitled to the

protections of the Rehabilitation Act. See 29 U.S.C. § 705(20)(B) (citing to the ADA’s definition

at 42 U.S.C. § 12102). The Rehabilitation Act defines a “program or activity,” in pertinent part,

as “all of the operations of a department [or] agency . . . of a State or of a local government.” 29

U.S.C. § 794(b)(1)(A).

        124.      OHA is a governmental agency that receives “federal financial assistance” as used

in the Rehabilitation Act and operates programs or activities within the meaning of Section 504.

See 29 U.S.C. § 794(b)(1)(A). Defendant, acting in her official capacity, administers programs or

activities as defined by the Rehabilitation Act, 29 U.S.C. § 794(b), and its implementing

regulations, 28 C.F.R. § 41.51.

        125.      OHA is engaged in providing programs or activities receiving Federal financial

assistance sufficient to invoke the coverage of Section 504. 29 U.S.C. § 794(b)(1), (b)(3).

        126.      Treatment professionals at Plaintiffs’ hospitals believe that community-based
treatment is appropriate for civilly committed patients who have stabilized and are ready for that

level of treatment. Civilly committed patients do not oppose community-based treatment. These

services can be reasonably accommodated. Despite that, OHA has institutionalized these civilly

committed patients, or placed them at serious risk of institutionalization, in Plaintiffs’ acute care

hospitals, when they need community-based treatment, in violation of the integration mandate.

        127.      OHA violates Section 504, and its implementing regulations, including as

follows:



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 60            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 60       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN            Document 115-3             Filed 10/01/24           Page 62 of 72




                  a.     By failing to administer programs and activities in “the most integrated

        setting appropriate” to the needs of civilly committed patients. 28 C.F.R. § 41.51(d).

                  b.     By directly or through contractual, licensing, or other arrangements,

        providing aids, benefits, or services in such a way that denies civilly committed patients

        the opportunity to participate in or benefit from such aids, benefits, or services; failing to

        afford civilly committed patients an equal opportunity to participate in or benefit from

        such aids, benefits, or services; providing aids, benefits, or services in such a way that

        civilly committed patients are not afforded equal opportunity to obtain the same result as

        that provided to others; and by otherwise limiting civilly committed patients in the

        enjoyment of a right, privilege, advantage, or opportunity enjoyed by others receiving the

        aid, benefit, or service. 28 C.F.R. § 41.51(b)(1).

                  c.     By directly or through contractual or other arrangements utilizing criteria

        or methods of administration in the state’s mental health system that subject civilly

        committed patients to discrimination on the basis of their disabilities. 28 C.F.R.

        § 41.51(b)(3).

        128.      Providing civilly committed patients with the community-based treatment

resources they need to avoid unnecessary institutionalization would not fundamentally alter

OHA’s programs, services, or activities.
        129.      As a result of OHA’s actions and inactions, civilly committed patients have

suffered and will continue to suffer irreparable harm, discrimination, institutionalization, and

unequal access to community-based treatment services.

        130.      In the absence of declarative and injunctive relief, OHA will continue to

unnecessarily institutionalize and deny civilly committed patients the right to live in the most

integrated settings appropriate to their needs.

        131.      Plaintiffs seek only declaratory relief, injunctive relief, and recovery of their

attorneys’ fees and costs in bringing this action.

4868-8709-5093.2
 SECOND AMENDED COMPLAINT           EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR             LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND                1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                       888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 61             Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 61        Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                    Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                    Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 63 of 72




                                          EIGHTH CLAIM

         Violation of Section 1557 of the Patient Protection and Affordable Care Act

        132.      Plaintiffs reallege and incorporate by reference paragraphs 1 through 131 above.

        133.      OHA receives Federal financial assistance for its health programs, including

programs and activities related to civil commitment of individuals with mental disabilities and

treatment during their period of commitment. As such, OHA is a covered entity subject to the

requirements of 45 C.F.R. Part 92 and Section 1557 of the Affordable Care Act, 42 U.S.C.

§ 18116 et seq.

        134.      As a covered entity, OHA is prohibited from discriminating against individuals

with mental disabilities, both directly and through coordinated care organizations that it regulates

and funds for its Medicaid programs.

        135.      OHA discriminates against individuals with mental disabilities who are civilly

committed by failing to provide adequate treatment resources, failing to ensure treatment is

received in the least restrictive and most integrated setting, creating unreasonable risks of

institutionalization and segregation, failing to legally design and implement benefits, failing to

ensure adequate provider networks, denying services, and failing to provide for reimbursement

rates sufficient to avoid discrimination.

        136.      OHA’s practices violate Section 1557 and its regulations, including 45 C.F.R.
§§ 92.101, 92.205 and 92.207.

        137.      Pursuant to 42 U.S.C. § 18116(a), the Court should enter declaratory judgment

that OHA’s practices violate Section 1557 and an injunction against further violations.

                                            NINTH CLAIM

               Violation of Community Hospitals’ Rights under Article I, Section 18
                           of the Oregon Constitution – Unlawful Taking

        138.      Plaintiffs reallege and incorporate by reference paragraphs 1 through 137 above.



4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 62           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 62      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 64 of 72




        139.      Article I, Section 18, of the Oregon Constitution provides in part that “[p]rivate

property shall not be taken for public use . . . without just compensation; nor except in the case of

the state, without such compensation first assessed and tendered.”

         . . without just compensation; nor except in the case of the state, without such

compensation first assessed and tendered.”

        140.      For years, OHA has engaged in conduct and a policy and practice that results in a

taking of Plaintiffs’ and other community hospitals’ property for public use without just

compensation. Once a general judgment of commitment is entered and individuals are stabilized

and civilly committed to the custody of OHA for up to 180 days of treatment, they are supposed

to be transferred to an appropriate long-term treatment facility. OHA is supposed to ensure they

are transferred to the facility best able to treat them or a suitable facility at the time of

commitment. Instead, however, after individuals are civilly committed—and they are no longer

represented by counsel to protect their rights—these individuals are left indefinitely in restrictive

and confined settings in acute care hospitals, where they are forgotten by OHA.

        141.      Because civilly committed individuals who are committed to the custody of OHA

for treatment are occupying community hospitals’ beds for weeks, months, and sometimes their

entire 180-day commitment and recommitment period, OHA’s conduct deprives Plaintiffs and

other community hospitals of their hospital beds. It results in beds being unnecessarily occupied
by civilly committed individuals who have no medical reason to be in acute care settings, and

prevents other acute psychiatric patients in the community from accessing much needed care,

including patients who are backed up in emergency departments. Because of OHA’s actions,

community hospitals are deprived of the services of its care providers, forced to incur costs

associated with housing patients who should be elsewhere, and left with no choice but to devote

significant resources to patients who have no medical reason to be there, including medication,

food, housekeeping services, security, and one-to-one sitters 24 hours a day.



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 63            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 63       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 65 of 72




         142.     OHA doesand their contracted Coordinated Care Organizations do not provide

sufficient compensation to cover the costs and fair value of Plaintiffs’ property used to care for

civilly committed patients left at Plaintiffs’ hospitals.

         143.     OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory and injunctive relief

are appropriate because community hospitals lack an adequate remedy at law. Plaintiffs cannot

feasibly seek adequate and just compensation through individual legal actions for each civilly

committed patient left in Plaintiffs’ care because the expenses of pursuing so many individual

legal actions would exceed the compensation Plaintiffs seek to recover.

         144.     Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ and other community hospitals’ rights under Article 1, Section 18 of the Oregon

Constitution. Plaintiffs also seek a permanent injunction enjoining OHA from continuing its

conduct, policy, and practice.

         145.     Plaintiffs do not seek compensatory damages for OHA’s unlawful takings.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’attorneys’ fees and costs in bringing this action.
                                             FIFTH CLAIM

                                            TENTH CLAIM

            Violation of Civilly Committed Individuals’ Rights under ORS 426.060

         146.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 50145

above.

         147.     OHA must direct civilly committed persons “to the facility best able to treat”

them, or delegate to a community mental health program director the responsibility for

assignment of civilly committed persons to a “suitable” facility. ORS 426.060(2)(a), (d).

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 64            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 64       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 66 of 72




        148.      OHA’s conduct, policy, and practice violates its statutory duties under

        ORS 426.060 by deliberately failing to make any placement decision for civilly

committed individuals. Instead of being placed in the facility “best able to treat” them or a

“suitable facility” at the time of commitment, OHA is choosing to leave civilly committed

individuals indefinitely in acute care hospitals, and deliberately failing to make any placement

decision for them as contemplated by the statute.

        149.      OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

        150.      OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

        Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates its duties

under ORS 426.060, and that OHA has a legal duty to provide civilly committed individuals
meaningful treatment during their 180-day commitment and place civilly committed individuals

in the facility best able to treat them or a suitable facility at the time of commitment..

        151.      Plaintiffs do not seek compensatory damages for OHA’s statutory violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’attorneys’ fees and costs in bringing this action.




4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 65            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 65       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 67 of 72




                                             SIXTH CLAIM

                                         ELEVENTH CLAIM

           Violation of Civilly Committed Individuals’ Rights under ORS 426.150(1)

         152.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 50151

above.

         153.     When an individual is civilly committed, “[OHA] or its designee shall take the

person with mental illness into its custody, and ensure the safekeeping and proper care of the

person until the person is delivered to an assigned treatment facility or to a representative of the

assigned treatment facility.” ORS 426.150(1).

         154.     OHA’s conduct, policy, and practice violates its statutory duties under

         ORS 426.150(1).(1). Once individuals are civilly committed, OHA is failing to take

custody of these individuals and ensure the safekeeping and proper care of these individuals until

they are delivered to an assigned treatment facility or to a representative of the assigned

treatment facility. Instead, OHA is leaving civilly committed individuals in acute care

community hospitals where they are initially detained for emergency purposes on a notice of

mental illness, and failing to place patients after they are civilly committed.

         155.     OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help
over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

         156.     OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory relief is appropriate

because community hospitals lack an adequate remedy at law.

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 66            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 66       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 68 of 72




         Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates its duties

under ORS 426.150, and that OHA has a legal duty to take civilly committed individuals into its

custody, and ensure the safekeeping and proper care of them by delivering them to an assigned

treatment facility that is best able to treat them or a suitable facility.

         157.     Plaintiffs do not seek compensatory damages for OHA’s statutory violations.

Plaintiffs seek only declaratory relief, injunctive relief, nominal damages, and recovery of their

attorneys fees’attorneys’ fees and costs in bringing this action.

                                          SEVENTH CLAIM

                                          TWELFTH CLAIM

 Violation of Civilly Committed Individuals’ Rights under ORS 659A.142(5)(a) and (6)(a)

         158.     Plaintiffs reallege and incorporate by reference paragraphs 1 through 50157

above.

         159.     ORS 659A.142(5)(a))(a) provides that “[i]t is an unlawful practice for state

government to exclude an individual from participation in or deny an individual the benefits of

the services, programs or activities of state government or to make any distinction,

discrimination or restriction because the individual has a disability.”

         160.     ORS 659A.142(6)(a))(a) provides that “[i]t is an unlawful practice for a provider

or any person acting on behalf of a provider to discriminate by doing any of the following based
on the patient’s race, color, national origin, sex, sexual orientation, gender identity, age or

disability: (A) Deny medical treatment to the patient that is likely to benefit the patient based on

an individualized assessment of the patient using objective medical evidence; or (B) Limit or

restrict in any manner the allocation of medical resources to the patient.”

         161.     OHA’s conduct, policy, and practice violates its statutory duties under ORS

659A.142(5)(a))(a) because OHA is excluding civilly committed individuals from admission to

OSH, and denying them an alternative appropriate long-term placement when they are civilly

committed to the custody of OHA for 180 days of treatment.

4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 67            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 67       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN           Document 115-3             Filed 10/01/24           Page 69 of 72




        162.      OHA’s conduct, policy, and practice violates its statutory duties under ORS

659A.142(6)(a))(a) because OHA is discriminating against civilly committed individuals by

denying them appropriate long-term treatment once they are civilly committed to the custody of

OHA, and limiting and restricting the allocation of resources to them.

        163.      OHA will continue engaging in its conduct, policy, and practice unless the Court

enjoins such conduct. As demonstrated by its inaction, despite repeated pleas to OHA for help

over the years, it is clear that OHA intends to continue using community hospitals to house

civilly committed individuals indefinitely, if not permanently. Declaratory and injunctive relief

are appropriate because community hospitals lack an adequate remedy at law.

        164.      Plaintiffs seek a declaration that OHA’s conduct, policy, and practice violates

Plaintiffs’ rights under ORS 659A.142(5)(a))(a) and (6)(a).)(a). Plaintiffs also seek a permanent

injunction pursuant to ORS 659A.885(1) enjoining OHA from continuing its statutory violations

and their attorneys’ fees pursuant to ORS 659A.885(8)(d).

                                        RELIEF REQUESTED

        Plaintiffs respectfully request the following relief:

        A.        Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates the Fifth and Fourteenth Amendments to the United States Constitution

because:
                  i.     They force community hospitals to house and treat civilly committed

        individuals indefinitely, thus occupying and taking their property, despite the fact that

        community hospitals are not equipped, staffed, or designed to provide long-term care and

        treatment appropriate for civilly committed individuals;

                  ii.    There is no state law procedure for community hospitals to contest being

        forced to house civilly committed individuals when they no longer require that level of

        treatment;



4868-8709-5093.2
 SECOND AMENDED COMPLAINT          EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR            LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND               1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                      888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 68            Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 68       Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                   Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                   Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN            Document 115-3             Filed 10/01/24           Page 70 of 72




                  iii.   They result in a taking of community hospitals’ private property for public

        use without just compensation;

                  iv.    They result in a violation of civilly committed individuals’ right to receive

        appropriate treatment and, further, deny liberty interests arising from state law; and

                  v.     There is no state law procedure for community hospitals to ensure that

        civilly committed individuals are placed by OHA in the facility best able to treat them or

        even a suitable facility.

        B.        Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates Title II of the Americans with Disabilities Act and Section 504 of the

Rehabilitation Act, and the implementing regulations, because:

                  i.     They administer the state’s mental health system in a way that subjects

        civilly committed patients to unnecessary institutionalization in community hospitals

        instead of providing them with community-based treatment resources;

                  ii.    They directly or through contractual or other arrangements utilize criteria

        or methods of administration in the state’s mental health system that subject civilly

        committed patients to discrimination on the basis of their disabilities;

                  iii.   They fail to administer services, programs, and activities in the most

        integrated setting appropriate to the needs of civilly committed patients; and
                  iv.    They fail to make reasonable modifications to allow civilly committed

        patients to participate in OHA’s services, programs, and activities in an integrated

        community setting.

        C.        Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates Section 1557 of the of the Patient Protection and Affordable Care Act, and

its implementing regulations, because OHA discriminates against individuals with mental

disabilities who are civilly committed by failing to provide adequate treatment resources, failing

to ensure treatment is received in the least restrictive and most integrated setting, creating

4868-8709-5093.2
 SECOND AMENDED COMPLAINT           EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR             LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND                1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                       888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 69             Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 69        Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                    Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                    Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN          Document 115-3             Filed 10/01/24           Page 71 of 72




unreasonable risks of institutionalization and segregation, failing to legally design and implement

benefits, failing to ensure adequate provider networks, denying services, and failing to provide

for reimbursement rates sufficient to avoid discrimination.

        B.D.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates Article I, Section 18, of the Oregon Constitution because they result in a

taking of Plaintiffs’ and other community hospitals’ private property for public use without just

compensation.

        C.E.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates its duties under ORS 426.060, and that OHA has a legal duty to provide

civilly committed individuals meaningful treatment during their 180-day commitment and place

them in the facility best able to treat them or a suitable facility at the time of commitment.

        D.F.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates its duties under ORS 426.150, and that OHA has a legal duty to take civilly

committed individuals into its custody, and ensure the safekeeping and proper care of them by

delivering them to an assigned treatment facility best able to treat them or a suitable facility.

        E.G.      Declare that OHA’s conduct, policy, and practice regarding civilly committed

individuals violates ORS 659A.142(5)(a) and (6)(a).

        H.        Permanently enjoin OHA from continuing to violate civilly committed patients’
due process rights to liberty and hospitals’ due process rights to property, and from continuing to

take hospitals’ property without just compensation, and further requiring OHA to fulfill its

obligations to provide civilly committed patients the care and treatment they are entitled to by

law.

        F.I.      Permanently enjoin OHA from continuing to violate civilly committed

individuals’ rights under Title II of the Americans with Disabilities Act, Section 504 of the

Rehabilitation Act, and Section 1557 of the of the Patient Protection and Affordable Care Act.

///

4868-8709-5093.2
 SECOND AMENDED COMPLAINT         EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR           LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND              1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                     888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 70           Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 70      Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                  Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                  Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
       Case 6:22-cv-01460-AN            Document 115-3             Filed 10/01/24           Page 72 of 72




///

///

///

        G.J.      Award Plaintiffs nominal damages and their reasonable attorneys’ fees and costs

in this action pursuant to 42 U.S.C. § 1988(b) and ORS 659A.885(8)(d); and

        H.K.      Grant such further relief as justice requires.


        DATED this 1st day of December, 2022.August 22, 2024.

LEWIS BRISBOIS BISGAARD &
SMITH LLP                                         EPSTEIN BECKER GREEN, P.C.




                                                         s/ Eric J. Neiman
                                                  By:
                                                         Eric J. Neiman, OSB #823513
                                                         Emma P. Pelkey, OSB #144029
                                                         Telephone: 971.712.2800503.343.6475
                                                         Facsimile: 971.712.2801503.343.6476

                                                  PERKINS COIE,STOEL RIVES LLP

                                                   By:           s/ Thomas R. Johnson

                                                  By: ___________________________________
                                                      Thomas R. Johnson, OSB #010645
                                                      Alex Van Rysselberghe, OSB #174836
                                                      Telephone: 503.727.2000294.9466
                                                       Facsimile: 503.727.2222

                                                         Attorneys for Plaintiffs




4868-8709-5093.2
 SECOND AMENDED COMPLAINT           EPSTEIN BECKER & GREEN, P.C.                  STOEL RIVES LLP
  AMENDED COMPLAINT FOR             LEWIS BRISBOIS      BISGAARD & SMITH LLP      PERKINS COIE LLP
 FOR DECLARATORY AND                1050 SW 6th Ave., Ste. 1530                   760 SW Ninth Avenue, Suite 3000
  DECLARATORY                       888 SW Fifth Avenue, Suite 900                1120 N.W. Couch Street, Tenth Floor
 INJUNCTIVE RELIEF - 71             Portland, Oregon 97204                        Portland, Oregon 97205
  AND INJUNCTIVE RELIEF - 71        Portland, Oregon 97204-2025                   Portland, Oregon 97209-4128
                                    Telephone: 503.334.6475 • Fax: 503.343.6476   Phone: +1.503.224.3380 • Fax: +1.503.220.2480
                                    Telephone: 971.712.2800 • Fax 971.712.2801    Phone: +1.503.727.2000 • Fax: +1.503.727.2222
FIRM:65903478v1
158177756.2
